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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                          BALTIMORE DIVISION

BRITTNEY GOBBLE PHOTOGRAPHY, LLC        §
                                        §
           Plaintiff,                   §
      vs.                               §
                                        §     Case No. 1:18-cv-03403-RDB
SINCLAIR BROADCAST GROUP, INC.          §
SINCLAIR PORTLAND LICENSEE, LLC,        §
KATV LICENSEE, LLC, SINCLAIR            §
BAKERSFIELD LICENSEE, LLC,              §
SINCLAIR BOISE LICENSEE, LLC,           §
SINCLAIR EUGUNE LICENSEE, LLC,          §
SINCLAIR YAKIMA LICENSEE, LLC,          §
KEYE LICENSEE, LLC, KGBT LICENSEE,      §
LLC, KHQA LICENSEE, LLC, SINCLAIR       §
LEWISTON LICENSEE, LLC, SINCLAIR        §
SEATTLE LICENSEE, LLC, SINCLAIR         §
RADIO OF SEATTLE LICENSEE, LLC,         §
KRCG LICENSEE, LLC, KTUL LICENSEE,      §
LLC, KTVL LICENSEE, LLC, KTVO           §
LICENSEE, LLC, KUTV LICENSEE, LLC,      §
KVII LICENSEE, LLC, WACH LICENSEE, LLC, §
WFXL LICENSEE, LLC, WGXA LICENSEE,      §
LLC, WJAR LICENSEE, LLC, WKRC           §
LICENSEE, LLC, GRAY TELEVISION          §
LICENSEE, LLC, WLUK LICENSEE, LLC,      §
WNWO LICENSEE, LLC, WOAI LICENSEE,      §
LLC, WPBN LICENSEE, LLC, WPDE           §
LICENSEE, LLC, WSET LICENSEE, LLC,      §
WSTQ LICENSEE, LLC, WTOV LICENSEE,      §
LLC, WTVC LICENSEE, LCC, WZTV           §
LICENSEE, LLC, SINCLAIR TELEVISION      §
OF PORTLAND, LLC, KATV, LLC, THE        §
TENNIS CHANNEL, INC., SINCLAIR          §
MEDIA OF BOISE, LLC, SINCLAIR MEDIA     §
OF OREGON, LLC, SINCLAIR MEDIA OF       §
WASHINGTON, LLC, SAN ANTONIO            §
TELEVISION, LLC, CHESAPEAKE MEDIA I, §
LLC, SINCLAIR TELEVISION OF ILLINOIS,   §
LLC, SINCLAIR MEDIA OF SEATTLE, LLC,    §
SINCLAIR RADIO OF SEATTLE, LLC,         §
SINCLAIR COMMUNICATIONS, LLC,           §
KTUL, LLC, WSMH, INC., HARRISBURG       §



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TELEVISION, INC., SINCLAIR MEDIA III, INC., §
and SINCLAIR TELEVISION STATIONS, LLC §
KMPH LICENSEE, LLC, KMTR TELEVISION, §
LLC, KPTM LICENSEE, LLC, HSH FLINT          §
(WEYI) LICENSEE, LLC, NEW AGE MEDIA         §
OF GAINESVILLE LICENSEE, LLC,               §
DEERFIELD MEDIA (ROCHESTER)                 §
LICENSEE, LLC, ACC LICENSEE, LLC,           §
GOCOM MEDIA OF ILLINOIS, LLC,               §
SINCLAIR TELEVISION OF FRESNO, LLC,         §
SINCLAIR TELEVISION OF OREGON, LLC,         §
SINCLAIR TELEVISION OF OMAHA, LLC,          §
KABB LICENSEE, LLC, KOKH LICENSEE,          §
LLC, CHESAPEAKE TELEVISION                  §
LICENSEE, LLC, BIRMINGHAM (WABM-TV) §
LICENSEE, INC., WGME LICENSEE, LLC,         §
WICS LICENSEE, LLC, PORTLAND                §
(WPFO-TV) LICENSEE, INC., WSYX              §
LICENSEE, LLC, COLUMBUS (WTTE-TV)           §
LICENSEE, INC., KOKH, LLC, and WGME, INC. §
                                            §              JURY TRIAL DEMANDED
            Defendants.                     §

                                 FIRST AMENDED COMPLAINT

       Plaintiff Brittney Gobble Photography, LLC (“BGP” or “Plaintiff”) brings this action

against defendants Sinclair Broadcast Group, Inc. (“Sinclair”), Sinclair Portland Licensee, LLC,

KATV Licensee, LLC, Sinclair Bakersfield Licensee, LLC, Sinclair Boise Licensee, LLC, Sinclair

Eugene Licensee, LLC, Sinclair Yakima Licensee, LLC, KEYE Licensee, LLC, KGBT Licensee,

LLC, KHQA Licensee, LLC, Sinclair Lewiston Licensee, LLC, Sinclair Seattle Licensee, LLC,

Sinclair Radio of Seattle Licensee, LLC, KRCG Licensee, LLC, KTUL Licensee, LLC, KTVL

Licensee, LLC, KTVO Licensee, LLC, KUTV Licensee, LLC, KVII Licensee, LLC, WACH

Licensee, LLC, WFXL Licensee, LLC, WGXA Licensee, LLC, WJAR Licensee, LLC, WKRC

Licensee, LLC, Gray Televisions Licensee, LLC, WLUK Licensee, LLC, WNWO Licensee, LLC,

WOAI Licensee, LLC, WPBN Licensee, LLC, WPDE Licensee, LLC, WSET Licensee, LLC,

WSTQ Licensee, LLC, WTOV Licensee, LLC, WTVC Licensee, LLC, WZTV Licensee, LLC,



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Sinclair Television of Portland, LLC, KATV, LLC, The Tennis Channel, Inc., Sinclair Media of

Boise, LLC, Sinclair Media of Oregon, LLC, Sinclair Media of Washington, LLC, San Antonio

Television, LLC, Chesapeake Media I, LLC, Sinclair Television of Illinois, LLC, Sinclair Media

of Seattle, LLC, Sinclair Radio of Seattle, LCC, Sinclair Communications, LLC, KTUL, LLC,

WSMH, Inc., Harrisburg Television, Inc., Sinclair Media III, Inc. and Sinclair Television Stations,

LLC, KMPH Licensee, LLC, KMTR Television, LLC, KPTM Licensee, LLC, HSH Flint (WEYI)

Licensee, LLC, New Age Media of Gainesville Licensee, LLC, Deerfield Media (Rochester)

Licensee, LLC, ACC Licensee, LLC, Gocom Media of Illinois, LLC, Sinclair Television of

Fresno, LLC, Sinclair Television of Oregon, LLC, Sinclair Television of Omaha, LLC, KABB

Licensee, LLC, KOKH Licensee, LLC, Chesapeake Television Licensee, LLC, Birmingham

(WABM-TV) Licensee, Inc., WGME Licensee, LLC, WICS Licensee, LLC, Portland (WPFO-

TV) Licensee, Inc., WSYX Licensee, LLC, Columbus (WTTE-TV) Licensee, Inc., KOKH, Inc.,

and WGME, Inc. (collectively “Defendants” and individually “Defendant”). For its causes of

action herein, BGP alleges as follows:

                                           THE PARTIES

       1.      Plaintiff BGP is a limited liability company organized and existing under the laws

of the State of Tennessee, and having a principal place of business at 511 Randolph Fridley Road,

Sweetwater, Tennessee 37874-6035.

       2.      Sinclair is a corporation organized and existing under the laws of the State of

Maryland, has a principal place of business within this district, and has designated The Corporation

Trust, Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as

its registered agent for purposes of service of process.




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       3.      Sinclair Portland Licensee, LLC (“Sinclair Portland”) is a limited liability company

organized and existing under the laws of the State of Nevada, and has designated The Corporation

Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its

registered agent for purposes of service of process.

       4.      KATV Licensee, LLC (“KATV”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       5.      Sinclair Bakersfield Licensee, LLC (“Sinclair Bakersfield”) is a limited liability

company organized and existing under the laws of the State of Nevada, and has designated The

Corporation Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada

89701 as its registered agent for purposes of service of process.

       6.      Sinclair Boise Licensee, LLC (“Sinclair Boise”) is a limited liability company

organized and existing under the laws of the State of Nevada, and has designated The Corporation

Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its

registered agent for purposes of service of process.

       7.      Sinclair Eugene Licensee, LLC (“Sinclair Eugene”) is a limited liability company

organized and existing under the laws of the State of Nevada, and has designated The Corporation

Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its

registered agent for purposes of service of process.

       8.      Sinclair Yakima Licensee, LLC (“Sinclair Yakima”) is a limited liability company

organized and existing under the laws of the State of Nevada, and has designated The Corporation




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Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its

registered agent for purposes of service of process.

       9.      KEYE Licensee, LLC (“KEYE”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       10.     KGBT Licensee, LLC (“KBGT”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       11.     Sinclair Lewiston Licensee, LLC (“Sinclair Lewiston”) is a limited liability

company organized and existing under the laws of the State of Nevada, and has designated The

Corporation Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada

89701 as its registered agent for purposes of service of process.

       12.     Sinclair Seattle Licensee, LLC (“Sinclair Seattle”) is a limited liability company

organized and existing under the laws of the State of Nevada, and has designated The Corporation

Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its

registered agent for purposes of service of process.

       13.     Sinclair Radio of Seattle Licensee, LLC (“Sinclair Radio”) is a limited liability

company organized and existing under the laws of the State of Nevada, and has designated The

Corporation Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada

89701 as its registered agent for purposes of service of process.




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       14.     KRCG Licensee, LLC (“KRCG”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       15.     KTUL Licensee, LLC (“KTUL”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       16.     KTVL Licensee, LLC (“KTVL”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       17.     KTVO Licensee, LLC (“KTVO”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       18.     KUTV Licensee, LLC (“KUTV”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       19.     KVII Licensee, LLC (“KVII”) is a limited liability company organized and existing

under the laws of the State of Nevada, and has designated The Corporation Trust Company of




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Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       20.     WACH Licensee, LLC (“WACH”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       21.     WFXL Licensee, LLC (“WFXL”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       22.     WGXA Licensee, LLC (“WGXA”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       23.     WJAR Licensee, LLC (“WJAR”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       24.     WKRC Licensee, LLC (“WKRC”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.




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       25.     Gray Television Licensee, LLC (“Gray Television”) is a limited liability company

organized and existing under the laws of the State of Nevada, and has designated Entity Services

(Nevada), LLC, 2215-B Renaissance Drive, Las Vegas, Nevada 89119 as its registered agent for

purposes of service of process.

       26.     WLUK Licensee, LLC (“WLUK”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       27.     WNWO Licensee, LLC (“WNWO”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       28.     WOAI Licensee, LLC (“WOAI”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       29.     WPBN Licensee, LLC (“WPBN”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       30.     WPDE Licensee, LLC (“WPDE”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company




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of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       31.     WSET Licensee, LLC (“WSET”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       32.     WSTQ Licensee, LLC (“WSTQ”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       33.     WTOV Licensee, LLC (“WTOV”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       34.     WTVC Licensee, LLC (“WTVC”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.

       35.     WZTV Licensee, LLC (“WZTV”) is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated The Corporation Trust Company

of Nevada, 701 South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent

for purposes of service of process.




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       36.     Sinclair Television of Portland, LLC is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.

       37.     KATV, LLC is a limited liability company organized and existing under the laws

of the State of Delaware, and has designated The Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801 as its registered agent for purposes of

service of process.

       38.     The Tennis Channel, Inc. (“Tennis Channel”) is a corporation organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.

       39.     Sinclair Media of Boise, LLC is a limited liability company organized and existing

under the laws of the State of Delaware, and has designated The Corporation Trust Company,

Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its registered agent

for purposes of service of process.

       40.     Sinclair Media of Oregon, LLC was identified during discovery as the owner of the

television stations corresponding to the www.kcby.com and www.kval.com websites upon which

infringing activity took place as complained of in more detail below.

       41.     Sinclair Media of Washington, LLC is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.




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       42.     San Antonio Television, LLC is a limited liability company organized and existing

under the laws of the State of Delaware, and has designated The Corporation Trust Company,

Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its registered agent

for purposes of service of process.

       43.     Chesapeake Media I, LLC is a limited liability company organized and existing

under the laws of the State of Nevada, and has designated CT Corporation System, 701 South

Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent for purposes of service

of process.

       44.     Sinclair Television of Illinois, LLC is a limited liability company organized and

existing under the laws of the State of Nevada, and has designated CT Corporation System, 701

South Carson Street, Suite 200, Carson City, Nevada 89701 as its registered agent for purposes of

service of process.

       45.     Sinclair Media of Seattle, LLC is a limited liability company organized and existing

under the laws of the State of Delaware, and has designated The Corporation Trust Company,

Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its registered agent

for purposes of service of process.

       46.     Sinclair Radio of Seattle, LLC is a limited liability company organized and existing

under the laws of the State of Delaware, and has designated The Corporation Trust Company,

Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its registered agent

for purposes of service of process.

       47.     Sinclair Communications, LLC is a limited liability company organized and

existing under the laws of the State of Maryland, and has designated The Corporation Trust,




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Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       48.     KTUL, LLC is a limited liability company organized and existing under the laws

of the State of Delaware, and has designated The Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801 as its registered agent for purposes of

service of process.

       49.     WSMH, Inc. is a corporation organized and existing under the laws of the State of

Maryland, and has designated The Corporation Trust, Incorporated, 2405 York Road, Suite 201,

Lutherville Timonium, Maryland 21093-2264 as its registered agent for purposes of service of

process.

       50.     Harrisburg Television, Inc. is a corporation organized and existing under the laws

of the State of Delaware, and has designated The Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801 as its registered agent for purposes of

service of process.

       51.     Sinclair Media III, Inc. is a corporation organized and existing under the laws of

the State of Maryland, and has designated The Corporation Trust, Incorporated, 2405 York Road,

Suite 201, Lutherville Timonium, Maryland 21093-2264 as its registered agent for purposes of

service of process.

       52.     Sinclair Television Stations, LLC is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.




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       53.     KMPH Licensee, LLC (“KMPH”) is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.

       54.     KMTR Television, LLC (“KMTR”) is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.

       55.     KPTM Licensee, LLC (“KPTM”) is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.

       56.     HSH Flint (WEYI) Licensee, LLC (“HSH Flint”) is a limited liability company

organized and existing under the laws of the State of Delaware, and has designated The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801 as its registered agent for purposes of service of process.

       57.     New Age Media of Gainesville Licensee, LLC (“New Age”) is a limited liability

company organized and existing under the laws of the State of Delaware, and has designated

Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware 19808 as its

registered agent for purposes of service of process.

       58.     Deerfield Media (Rochester) Licensee, LLC (“Deerfield”) is a limited liability

company organized and existing under the laws of the State of Delaware, and has designated The




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Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801 as its registered agent for purposes of service of process.

       59.     ACC Licensee, LLC (“ACC”) is a limited liability company organized and existing

under the laws of the State of Delaware, and has designated The Corporation Trust Company,

Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its registered agent

for purposes of service of process.

       60.     Gocom Media of Illinois, LLC (“Gocom”) is a limited liability company organized

and existing under the laws of the State of Delaware, and has designated Incorporating Services,

Ltd., 3500 South Dupont Highway, Dover, Delaware 19901 as its registered agent for purposes of

service of process.

       61.     Sinclair Television of Fresno, LLC is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.

       62.     Sinclair Television of Oregon, LLC is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.

       63.     Sinclair Television of Omaha, LLC is a limited liability company organized and

existing under the laws of the State of Delaware, and has designated The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 as its

registered agent for purposes of service of process.




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       64.     KABB Licensee, LLC (“KABB”) is a limited liability company organized and

existing under the laws of the State of Maryland, and has designated The Corporation Trust,

Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       65.     KOKH Licensee, LLC (“KOKH”) is a limited liability company organized and

existing under the laws of the State of Maryland, and has designated The Corporation Trust,

Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       66.     Chesapeake Television Licensee, LLC (“Chesapeake”) is a limited liability

company organized and existing under the laws of the State of Maryland, and has designated The

Corporation Trust, Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland

21093-2264 as its registered agent for purposes of service of process.

       67.     Birmingham (WABM-TV) Licensee, Inc. (“WABM”) is a corporation organized

and existing under the laws of the State of Maryland, and has designated The Corporation Trust,

Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       68.     WGME Licensee, LLC (“WGME”) is a limited liability company organized and

existing under the laws of the State of Maryland, and has designated The Corporation Trust,

Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       69.     WICS Licensee, LLC (“WICS”) is a limited liability company organized and

existing under the laws of the State of Maryland, and has designated The Corporation Trust,




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Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       70.     Portland (WPFO-TV) Licensee, Inc. (“WPFO”) is a corporation organized and

existing under the laws of the State of Maryland, and has designated The Corporation Trust,

Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       71.     WSYX Licensee, LLC (“WSYX”) is a limited liability company organized and

existing under the laws of the State of Maryland, and has designated The Corporation Trust,

Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       72.     Columbus (WTTE-TV) Licensee, Inc. (“WTTE”) is a corporation organized and

existing under the laws of the State of Maryland, and has designated The Corporation Trust,

Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093-2264 as its

registered agent for purposes of service of process.

       73.     KOKH, LLC is a limited liability company organized and existing under the laws

of the State of Nevada, and has designated CT Corporation System, 701 South Carson Street, Suite

200, Carson City, Nevada 89701 as its registered agent for purposes of service of process.

       74.     WGME, Inc. is a corporation organized and existing under the laws of the State of

Maryland, and has designated The Corporation Trust, Incorporated, 2405 York Road, Suite 201,

Lutherville Timonium, Maryland 21093-2264 as its registered agent for purposes of service of

process.




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                                     JURISDICTION AND VENUE

        75.     This is an action for direct, contributory and vicarious copyright infringement

arising under the provisions of the Copyright Act of 1976, as amended, Title 17, United States

Code, §§ 101 et seq. (“the Copyright Act”), and direct, inducement of and/or joint falsification of

copyright management information arising under the provisions of the Digital Millennium

Copyright Act, Title 17, United States Code, §§ 1202-1203 (“DMCA”).

        76.     Subject-matter jurisdiction over BGP’s copyright and DMCA claims is conferred

upon this Court by 28 U.S.C. §§ 1331 and 1338(a).

        77.     Sinclair is subject to personal jurisdiction in this district because it was organized

and exists under the laws of the State of Maryland, and maintains its principal place of business in

this district. Each of the other defendants is subject to personal jurisdiction in this district because

it was organized and exists under the laws of the State of Maryland or in the same states (i.e.,

Delaware and Nevada) as related defendants who agreed to transfer of related actions to this district

and who, upon information and belief, would likewise for the same reasons agree to litigate these

claims in this district.

        78.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and (c) and 1400(a)

and/or upon information is agreeable to any defendant not formed under the laws of Maryland for

the same reasons as explained in the preceding paragraph.

                           PLAINTIFF’S COPYRIGHTED LYKOI CAT IMAGES

        79.     Johnny and Brittney Gobble, husband and wife, have been active leaders in the cat

breeding community for a number of years. Johnny Gobble is a veterinarian. Brittney Gobble is

a professional photographer. Mrs. Gobble specializes in artistic photography of cats and other

pets. Dr. and Mrs. Gobble were originally involved in breeding Sphynx cats, but more recently




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have taken the lead in establishing the Lykoi cat – also known as the “werewolf” cat – as a new

breed with The International Cat Association (TICA). Through the Gobble’s efforts, the Lykoi

breed began as an “Experimental” breed, was elevated to “Preliminary New Breed” status in 2014,

was elevated again in 2015 to “Advanced New Breed” status, and achieved full “Championship”

status in May 2017. In 2015, the Gobbles maintained a website at www.lykoikitten.com about the

Lykoi breed.

       80.     The Gobbles have been involved in the breeding of the vast majority of Lykoi cats

in existence. Mrs. Gobble is the author of the vast majority of professional photographs of Lykoi

cats. Her Lykoi images are highly unique and creative, and indicative of her high level of skill as

a professional photographer. By virtue of Dr. Gobble’s expertise as a veterinarian with the Lykoi

breed and Mrs. Gobble being the exclusive source of the best professional images of the Lykoi

breed, coupled with their collective experience in developing and establishing the Lykoi breed, the

Gobbles are routinely contacted by writers and bloggers requesting Mrs. Gobble’s images and

commentary from Dr. Gobble for use with an article about the Lykoi breed. The Gobbles receive

many of these requests around the Halloween season. The Gobbles have provided commentary

and Lykoi images in response to many of these requests, all at no charge. They do not allow the

recipients to distribute the images, and require that credit for the images be given to Brittney

Gobble. This lawsuit is based on a number of copyrighted images of Lykoi cats that were authored

by Brittney Gobble, and then wrongfully distributed by WENN Limited and USA Entertainment

News, Inc., d/b/a “WENN” and “World Entertainment News Network” (collectively “WENN”)

with false credit for the images to WENN. The infringing images that Defendants reproduced and

displayed on their websites as explained below were received through WENN’s unauthorized

distribution of the images.




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      81.    Brittney Gobble is the original author and creator of each of the following

photographic images:

             a. Image W-1nm.jpg (hereinafter “Image 1”):




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     b. Image Lykoi1-nm.jpg (hereinafter “Image 2”):




     c. Image Lykoi2-nm.jpg (hereinafter “Image 3”):




                                   20
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     d. Image outside2.jpg (hereinafter “Image 4”):




     e. Image outside1.jpg (hereinafter “Image 5”):




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     f. Image outside.jpg (hereinafter “Image 6”):




     g. Image _DSC9647.jpg (hereinafter “Image 7”):




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     h. Image Lykoi-nm (3).jpg (hereinafter “Image 8”):




     i. Image red-1nm (3).jpg (hereinafter “Image 9”):




                                    23
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     j. Image LykoiBrothers.jpg (hereinafter “Image 10”):




     k. Image Lykoi-3nm (2).jpg (hereinafter “Image 11”):




                                    24
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     l. Image Lykoi-6nm.jpg (hereinafter “Image 12”):




     m. Image _DSC9578.jpg (hereinafter “Image 13”):




                                   25
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     n. Image _DSC7026.jpg (hereinafter “Image 14”):




     o. Image _DSC9636.jpg (hereinafter “Image 15”):




                                   26
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     p. Image Monster-nm.jpg (hereinafter “Image 16”):




     q. Image lykoi-1nm.jpg (hereinafter “Image 17”):




                                    27
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     r. Image Ly-4nm (3).jpg (hereinafter “Image 18”):




     s. Image kits-nm.jpg (hereinafter “Image 19”):




                                    28
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     t. Image girls-nm.jpg (hereinafter “Image 20”):




     u. Image _DSC3799.NEF (hereinafter “Image 21”):




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     v. Image _DSC9420.jpg (hereinafter “Image 22”):




     w. Image w-2nm.jpg (hereinafter “Image 23”):




                                   30
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     x. Image WOLF-NM.jpg (hereinafter “Image 24”):




     y. Image wagon-nm.jpg (hereinafter “Image 25”):




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     z. Image agwang-nm.jpg (hereinafter “Image 26”):




     aa.Image show-56nm.jpg (hereinafter “Image 27”):




                                   32
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     bb.Image Schiff-nm.jpg (hereinafter “Image 28”):




     cc.Image RR-3nm.jpg (hereinafter “Image 29”):




                                    33
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     dd.Image V-1nm.jpg (hereinafter “Image 30”):




     ee.Image agw-1nm.jpg (hereinafter “Image 31”):




                                   34
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     ff. Image TG-1nm.jpg (hereinafter “Image 32”):




     gg.Image lykoi-2nm.jpg (hereinafter “Image 33”):




                                    35
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     hh.Image _DSC9665.jpg (hereinafter “Image 34”):




     ii. Image Dinner2.jpg (hereinafter “Image 35”):




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     jj. Image wolfie-1nm.jpg (hereinafter “Image 36”):




     kk.Image V-2nm.jpg (hereinafter “Image 37”):




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     ll. Image Lykoi-Headnm.jpg (hereinafter “Image 38”):




     mm. Image Show6-nm (2).jpg (hereinafter “Image 39”):




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     nn.Image Forest-nm.jpg (hereinafter “Image 40”):




     oo.Image M-2nm.jpg (hereinafter “Image 41”):




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     pp.Image Ly-nm.jpg (hereinafter “Image 42”):




     qq.Image Show-4nm (2).jpg (hereinafter “Image 43”):




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     rr.Image Show14-nm.jpg (hereinafter “Image 44”):




     ss. Image RR-1nm.jpg (hereinafter “Image 45”):




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     tt. Image Honi-2nm.jpg (hereinafter “Image 46”):




     uu.Image Lykoi-HiRes.jpg (hereinafter “Image 47”):




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     vv.Image AG-nm.jpg (hereinafter “Image 48”):




     ww.   Image V-3nm.jpg (hereinafter “Image 49”):




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     xx.Image Babies-nm (2).jpg (hereinafter “Image 50”):




     yy.Image Lykoi-n.jpg (hereinafter “Image 51”):




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     zz.Image Dinner1.jpg (hereinafter “Image 52”):




     aaa. Image Honi-3nm.jpg (hereinafter “Image 53”):




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     bbb. Image Lykoi-4nm.jpg (hereinafter “Image 54”):




     ccc.   Image Lykoi-5nm (2).jpg (hereinafter “Image 55”):




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       82.     Each of Images 1-55 shown above (collectively “the Images”) is an original work

of authorship fixed in a tangible medium of expression from which it can be perceived, reproduced,

displayed or otherwise communicated, either directly or with the aid of a machine or device.

       83.     Each of the Images shown above is a separate and independent work of authorship

in the form of a photographic image that comprises copyrightable subject matter protectable under

the Copyright Act.

       84.     Each of the Images shown above includes numerous original elements, including

but not limited to posing of the cats, lighting, camera settings and angle, and unique props and

background.

       85.     The copyrights in each of Images 1-55 shown above except for Image 26

(collectively “the Registered Images”) have been registered with the United States Copyright

Office in compliance with all Copyright Office requirements under four copyright registrations,

namely: United States Copyright Registration Nos. VA 1-976-214 entitled “Lykoi 2015 Images”

(hereinafter “the ‘214 Registration”), VA 1-987-108 entitled “Lykoi Images 2014” (hereinafter

“the ‘108 Registration”), VA 2-031-115 entitled “Group Registration Photos, Brittney Gobble

2014 Images, published March 17, 2014 to October 2, 2014, 4 photos” (hereinafter “the ‘115

Registration”) and VA 2-031-117 entitled “Gobble Image 2015” (hereinafter “the ‘117

Registration”). A true and correct copy of the ‘214 Registration is attached hereto as Exhibit 1

and fully incorporated herein by reference. A true and correct copy of the ‘108 Registration is

attached hereto as Exhibit 2 and fully incorporated herein by reference. A true and correct copy

of the ‘115 Registration is attached hereto as Exhibit 3 and fully incorporated herein by reference.

A true and correct copy of the ‘117 Registration is attached hereto as Exhibit 4 and fully

incorporated herein by reference.




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         86.   The Effective Registration Date of each of the ‘214 Registration, the ‘108

Registration, the ‘115 Registration and the ‘117 Registration is October 30, 2015.

         87.   All of the copyright infringement alleged in this action occurred after October 30,

2015.

         88.   Attached hereto as Exhibit 5 is a true and correct copy of the deposit material for

the ‘214 application. Attached hereto as Exhibit 6 is a true and correct copy of the deposit material

for the ‘214 application that has been annotated with red boxes placed around each of the Images

at issue in this action, and with each such Image designated by its Image number as identified

above.

         89.   Attached hereto as Exhibit 7 is a true and correct copy of the deposit material for

the ‘108 application. Attached hereto as Exhibit 8 is a true and correct copy of the deposit material

for the ‘108 application that has been annotated with red boxes placed around each of the Images

at issue in this action, and with each such Image designated by its Image number as identified

above.

         90.   Attached hereto as Exhibit 9 is a table with a thumbnail of each Image identified

above (sorted by Image number) and its corresponding Registration number.

         91.   The copyrights in 13 of Images 1-55 (namely, Images 4, 5, 6, 17, 20, 21, 27, 31,

33, 35, 36, 42, 52) are registered under the ‘214 Registration.

         92.   The copyrights in 38 of Images 1-55 (namely, Images 1, 2, 3, 7, 8, 10, 11, 12, 13,

14, 15, 16, 18, 22, 23, 24, 25, 28, 29, 30, 32, 34, 37, 38, 39, 41, 43, 44, 45, 46, 47, 48, 49, 50, 51,

53, 54, 55) are registered under the ‘108 Registration.

         93.   The copyrights in two of Images 1-55 (namely, Images 19 and 40) are registered

under the ‘115 Registration.




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       94.     The copyrights in one of Images 1-55 (namely, Image 9) is registered under the

‘117 Registration.

       95.     Plaintiff BGP is the owner by assignment from Mrs. Gobble of all right, title and

interest in and to the ‘214, ‘108, ‘115 and ‘117 Registrations and the copyrights in Images 1-55

and related causes of action, including but not limited to the right to sue and recover for all past,

present and future infringement of the copyrights and Registrations.

                                WENN’S INFRINGING DISTRIBUTION

       96.     On or about November 2, 2015, Clare Penn sent an email on behalf of WENN to

the   email   address      (lykoicats@gmail.com)        listed   on   the   “Contacts”   page   of   the

www.lykoikitten.com website. A true and correct copy of Ms. Penn’s November 2, 2015 email is

attached hereto as Exhibit 10. In the email, Ms. Penn requested on behalf of WENN a selection

of hi-res images of the Lykoi breed to accompany editorial text for a feature/news item regarding

the Lykoi breed of cats.

       97.     On the evening of November 2, 2015, Dr. Gobble responded to Ms. Penn’s email.

A true and correct copy of Dr. Gobble’s responsive email is attached hereto as Exhibit 11. In his

responsive email, Dr. Gobble included a link to a Dropbox folder (hereinafter “the Dropbox

folder”) containing 55 copyrighted images of Lykoi cats that were authored and created by Mrs.

Gobble, including Images 1-55; the versions of Images 7, 13, 14, 15, 21, 22, 34 that were included

in the Dropbox folder were edited versions of Images 7, 13, 14, 15, 21, 22, 34, whereas all other

images in the Dropbox folder were identical to the corresponding Images.




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       98.     The versions of Images 7, 13, 14, 15, 21, 22, 34 that were included in the Dropbox

folder are as follows:

               a.        Version of Image 7 in the Dropbox folder:




               b.        Version of Image 13 in the Dropbox folder:




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     c.    Version of Image 14 in the Dropbox folder:




     d.    Version of Image 15 in the Dropbox folder:




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     e.    Version of Image 21 in the Dropbox folder:




     f.    Version of Image 22 in the Dropbox folder:




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               g.      Version of Image 34 in the Dropbox folder:




       99.     Dr. Gobble’s November 2, 2015 response email (Exhibit 11) expressly advised that

WENN did not have permission to distribute the images from the Dropbox folder.

       100.    Dr. Gobble’s November 2, 2015 response email (Exhibit 11) requested that WENN

attribute credit for the images to “Brittney Gobble.”

       101.    Upon information and belief, after WENN received Dr. Gobble’s November 2,

2015 email (Exhibit 11), WENN downloaded each of the 55 images from the Dropbox folder, gave

each of the images new filenames that included the name “WENN,” and distributed the images to

numerous of its customers, including Sinclair and to many of Sinclair’s radio and television

stations, including the other defendants named herein (collectively “Sinclair Stations”).




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       102.    Each of the Defendants received the images that they reproduced and displayed on

their websites within the United States as described below, including with false credit for the

images to WENN, as a result of WENN’s infringing distribution as described above.

       103.    On or about November 12, 2015, Mrs. Gobble discovered that WENN had

distributed her copyrighted images without permission or license, thereby infringing on her

copyrights. Thereafter, the Gobbles gave WENN notice of its copyright infringement, and

demanded that WENN cease and desist its infringement, and compensate Mrs. Gobble for

WENN’s unauthorized distribution of her copyrighted images.

       104.    Upon information and belief, on or about November 13, 2015, WENN sent a kill

notice to those who had received the images from the Dropbox folder, including but not limited to

Sinclair, which advised them of the dispute and requested that the images be killed and withdrawn.

Upon information and belief, each Defendant had actual or constructive notice of the kill notice.

       105.    Each Sinclair Station and/or Sinclair modified the credit on some but not all of the

images from just WENN or WENN.com to also include “Brittney Gobble Photography” (e.g.,

“Photo Credit: Brittney Gobble Photography via WENN.com,” as shown in many of the attached

website screen shots and further discussed below).

       106.    Proper credit would have been to Brittney Gobble without any reference to WENN

or WENN.com.

       107.    Each Sinclair Station and/or Sinclair continued to display the infringing images on

their websites from early November 2015 until at least October/November 2017, as shown in many

of the attached website screen shots and further discussed below. The images that Defendants

reproduced and displayed on their websites as alleged below were reproduced and displayed within

the United States without authority or permission from Mrs. Gobble or BGP. Defendants




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committed numerous acts of infringement of the copyrights owned by BGP within the United

States.

          108.   Each of the articles, thumbnails, and images attached hereto, including the false

credit to WENN or WENN.com for the images, was accessible from computers within the United

States and was viewed, reproduced and displayed by viewers of, and provided to viewers of,

Defendants’ websites within the United States.

          109.   As each Defendant’s infringing conduct began after November 2, 2015, this

Complaint was filed within the three-year statute of limitations period pursuant to 17 U.S.C. §

507(b).

          110.   Neither Mrs. Gobble nor BGP authorized any Defendant to reproduce or display

any of the images at issue in this lawsuit.

          SINCLAIR’S AND THE SINCLAIR STATIONS’ INFRINGEMENT AND FALSE CREDIT

                                 SINCLAIR PORTLAND/KATU

          111.   After November 2, 2015, upon information and belief, Sinclair, Sinclair Portland

and/or Sinclair Television of Portland, LLC reproduced and displayed, without license or

permission, at least 51 of BGP’s copyrighted images on its www.katu.com website. The copyrights

for 50 of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations.

Attached hereto as Exhibits 12 and 13 are true and correct copies of a number of web site screen

shots evidencing direct infringement of BGP’s copyrighted images.          The screen shots also

evidence false credit in whole or in part to WENN or WENN.com constituting falsification of

copyright management information in violation of 17 U.S.C. § 1202(a).




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       112.    Sinclair, Sinclair Portland and Sinclair Television of Portland, LLC are charged

with direct and indirect copyright infringement with respect to those 50 images, which are

identified in detail below.

       113.    Attached hereto as Exhibit 12 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Four of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

12, namely Images 6, 24, 25 and 38. Upon clicking the “View Photo Gallery, 53 photos” link on

that page, another page was displayed showing 53 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 53 enlarged views is included as part of Exhibit 12.

       114.    Attached hereto as Exhibit 13 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

12, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 12.

       115.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Between

the two articles, there are a total of 104 images, 101 of which are Registered Images, i.e., Images

1-25 and 27-51 (Image 26 is not registered). Sinclair, Sinclair Portland and Sinclair Television of




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Portland, LLC are liable for direct and indirect copyright infringement with respect to these 101

Registered Images. BGP is entitled at least to statutory or actual damages for their infringement.

       116.    BGP is entitled to an award of statutory damages against Sinclair, Sinclair Portland

and Sinclair Television of Portland, LLC of at least $750 for each of the 50 Registered Images that

were copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       117.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Sinclair Portland and Sinclair Television of Portland, LLC with respect to each of the 50 Registered

Images that were copied. Between the two articles, Sinclair, Sinclair Portland and Sinclair

Television of Portland, LLC copied the Registered Images a total of 210 times (for the November

4 article, 4 on the first page, 50 on the thumbnails, and 51 enlarged versions, and for the November

10 article, 5 on the first page, 50 on the thumbnails and 50 enlarged versions).

       118.    Upon information and belief, at the time Sinclair, Sinclair Portland and Sinclair

Television of Portland, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, Sinclair Portland and Sinclair Television of Portland, LLC

became aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and

changed the credit on some but not all of the images from just WENN or WENN.com to also

include “Brittney Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via

WENN.com”) as shown for example in the enlarged versions of the images attached as Exhibit 13.




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Those enlarged versions also show continued credit on some of the images to only WENN.com.

It was false to credit the images to WENN.com alone or in combination with Brittney Gobble

Photography. Upon information and belief, Sinclair, Sinclair Portland and Sinclair Television of

Portland, LLC provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       119.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Sinclair Portland and Sinclair

Television of Portland, LLC committed at least 52 false credit violations (51 on each of the

enlarged images and once beneath the caption for Image 24 at the beginning of the article). As

such, BGP is entitled to an award of statutory CMI damages against Sinclair, Sinclair Portland and

Sinclair Television of Portland, LLC of at least $130,000 and up to $1,300,000.

                                              KATV

       120.    After November 2, 2015, upon information and belief, Sinclair, KATV and/or

KATV, LLC reproduced and displayed, without license or permission, at least 51 of BGP’s

copyrighted images on its www.katv.com website. The copyrights for 50 of those 51 images are

registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit 14 is a

true and correct copy of a number of web site screen shots evidencing direct infringement of BGP’s

copyrighted images. The screen shots also evidence false credit in whole or in part to WENN or

WENN.com constituting falsification of copyright management information in violation of 17

U.S.C. § 1202(a).

       121.    Sinclair, KATV and KATV, LLC are charged with direct and indirect copyright

infringement with respect to those 50 images, which are identified in detail below.




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       122.    Attached hereto as Exhibit 14 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

14, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 14.

       123.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KATV and KATV, LLC are liable for direct and indirect copyright infringement with

respect to these 50 Registered Images. BGP is entitled at least to statutory or actual damages for

their infringement.

       124.    BGP is entitled to an award of statutory damages against Sinclair, KATV and

KATV, LLC of at least $750 for each of the 50 Registered Images that were copied (i.e., at least

$37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that were copied

(i.e., up to $7,500,000) if the infringement is found to be willful based, for example, upon

continued infringement after becoming aware of the alleged infringement and/or continued credit

to WENN.com for the images and failure to properly credit the images only to Brittney Gobble.

       125.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KATV and KATV, LLC with respect to each of the 50 Registered Images that copied. Sinclair,

KATV and KATV, LLC copied all 50 of the Registered Images twice (once in the thumbnail of




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51 images and once in the enlarged views of each thumbnail) and also copied five of the Registered

Images a third time, at the beginning of the article, for a total of 105 copies.

       126.    Upon information and belief, at the time Sinclair, KATV and KATV, LLC initially

reproduced and displayed the Registered Images on its above-identified website, it credited only

WENN or WENN.com for the images. Upon information and belief, at some point thereafter,

Sinclair, KATV and KATV, LLC became aware of Mrs. Gobble’s dispute with WENN about the

images and/or false credit, and changed the credit on some but not all of the images from just

WENN or WENN.com to also include “Brittney Gobble Photography” (e.g., “Photo Credit:

Brittney Gobble Photography via WENN.com”) as shown for example in the enlarged versions of

the images attached as Exhibit 13. Those enlarged versions also show continued credit on some

of the images to only WENN.com. It was false to credit the images to WENN.com alone or in

combination with Brittney Gobble Photography. Upon information and belief, Sinclair, KATV

and KATV, LLC provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       127.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KATV and KATV, LLC

committed at least 52 false credit violations (51 on each of the enlarged images and once beneath

the caption for Image 24 at the beginning of the article). As such, BGP is entitled to an award of

statutory CMI damages against Sinclair, KATV and KATV, LLC of at least $130,000 and up to

$1,300,000.




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                              SINCLAIR BAKERSFIELD/KBAK

         128.   After November 2, 2015, upon information and belief, Sinclair, Sinclair Bakersfield

and/or The Tennis Channel, Inc. reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.bakersfieldnow.com website. The copyrights for 50

of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibits 15 and 16 are true and correct copies of a number of web site screen shots

evidencing direct infringement of BGP’s copyrighted images. The screen shots also evidence false

credit in whole or in part to WENN or WENN.com constituting falsification of copyright

management information in violation of 17 U.S.C. § 1202(a).

         129.   Sinclair, Sinclair Bakersfield and Tennis Channel are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         130.   Attached hereto as Exhibit 15 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Four of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

12. Upon clicking the “View Photo Gallery, 105 photos” link on that page, another page was

displayed showing 105 thumbnails corresponding to Images 1-51. Upon clicking each of those

thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each of

those 105 enlarged views is included as part of Exhibit 15.

         131.   Attached hereto as Exhibit 16 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,




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2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

12, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 16.

       132.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, Sinclair Bakersfield and Tennis Channel are liable for direct and indrect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       133.    BGP is entitled to an award of statutory damages against Sinclair, Sinclair

Bakersfield and Tennis Channel of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       134.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Sinclair Bakersfield and Tennis Channel with respect to each of the 50 Registered Images that

were copied. Between the two articles, Sinclair, Sinclair Bakersfield and Tennis Channel copied

the Registered Images a total of 262 times (for the November 4 article, 4 on the first page, 50 on




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the thumbnails, and 103 enlarged versions, and for the November 10 article, 5 on the first page, 50

on the thumbnails and 50 enlarged versions).

       135.    Upon information and belief, at the time Sinclair, Sinclair Bakersfield and Tennis

Channel initially reproduced and displayed the Registered Images on its above-identified website,

it credited only WENN or WENN.com for the images. Upon information and belief, at some point

thereafter, Sinclair, Sinclair Bakersfield and Tennis Channel became aware of Mrs. Gobble’s

dispute with WENN about the images and/or false credit, and changed the credit on some but not

all of the images from just WENN or WENN.com to also include “Brittney Gobble Photography”

(e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for example in the

enlarged versions of the images attached as Exhibit 12. Those enlarged versions also show

continued credit on some of the images to only WENN.com. It was false to credit the images to

WENN.com alone or in combination with Brittney Gobble Photography. Upon information and

belief, Sinclair, Sinclair Bakersfield and Tennis Channel provided, distributed and/or imported this

false credit with the intent to induce, enable, facilitate or conceal infringement in violation of 17

U.S.C. § 1202(a).

       136.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Sinclair Bakersfield and

Tennis Channel committed at least 52 false credit violations (51 on each of the enlarged images

and once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled

to an award of statutory CMI damages against Sinclair, Sinclair Bakersfield and Tennis Channel

of at least $130,000 and up to $1,300,000.




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                                    SINCLAIR BOISE/KBOI

         137.   After November 2, 2015, upon information and belief, Sinclair, Sinclair Boise

and/or Sinclair Media of Boise, LLC reproduced and displayed, without license or permission, at

least 51 of BGP’s copyrighted images on its www.idahonews.com website. The copyrights for 50

of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibits 17 and 18 are true and correct copies of a number of web site screen shots

evidencing direct infringement of BGP’s copyrighted images. The screen shots also evidence false

credit in whole or in part to WENN or WENN.com constituting falsification of copyright

management information in violation of 17 U.S.C. § 1202(a).

         138.   Sinclair, Sinclair Boise and Sinclair Media of Boise, LLC are charged with direct

and indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         139.   Attached hereto as Exhibit 17 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

17. Upon clicking the “View Photo Gallery, 53 photos” link on that page, another page was

displayed showing 53 thumbnails corresponding to Images 1-51. Upon clicking each of those

thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each of

those 53 enlarged views is included as part of Exhibit 17.

         140.   Attached hereto as Exhibit 18 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,




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2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

12, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 18.

       141.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Between

the two articles, there are a total of 104 images, 101 of which are Registered Images, i.e., Images

1-25 and 27-51 (Image 26 is not registered). Sinclair, Sinclair Boise and Sinclair Media of Boise,

LLC are liable for direct and indirect copyright infringement with respect to these 101 Registered

Images. BGP is entitled at least to statutory or actual damages for their infringement.

       142.    BGP is entitled to an award of statutory damages against Sinclair, Sinclair Boise

and Sinclair Media of Boise, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       143.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Sinclair Boise and Sinclair Media of Boise, LLC with respect to each of the 50 Registered Images

that were copied. Between the two articles, Sinclair, Sinclair Boise and Sinclair Media of Boise,

LLC copied the Registered Images a total of 210 times (for the November 4 article, 4 on the first




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page, 50 on the thumbnails, and 51 enlarged versions, and for the November 10 article, 5 on the

first page, 50 on the thumbnails and 50 enlarged versions).

       144.    Upon information and belief, at the time Sinclair, Sinclair Boise and Sinclair Media

of Boise, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, Sinclair Boise and Sinclair Media of Boise, LLC became aware of

Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 18. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                    Upon

information and belief, Sinclair, Sinclair Boise and Sinclair Media of Boise, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       145.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Sinclair Boise and Sinclair

Media of Boise, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, Sinclair Boise and Sinclair

Media of Boise, LLC of at least $130,000 and up to $1,300,000.




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                                  SINCLAIR EUGENE/KCBY

       146.     After November 2, 2015, upon information and belief, Sinclair, Sinclair Eugene

and/or Sinclair Media of Oregon, LLC reproduced and displayed, without license or permission,

at least 51 of BGP’s copyrighted images on its www.kcby.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibits 19 and 20 are true and correct copies of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

       147.     Sinclair, Sinclair Eugene and Sinclair Media of Oregon, LLC are charged with

direct and indirect copyright infringement with respect to those 50 images, which are identified in

detail below.

       148.     Attached hereto as Exhibit 19 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Four of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

19. Upon clicking the “View Photo Gallery, 53 photos” link on that page, another page was

displayed showing 53 thumbnails corresponding to Images 1-51. Upon clicking each of those

thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each of

those 53 enlarged views is included as part of Exhibit 19.

       149.     Attached hereto as Exhibit 20 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,




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2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

12, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 20.

       150.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Between

the two articles, there are a total of 104 images, 101 of which are Registered Images, i.e., Images

1-25 and 27-51 (Image 26 is not registered). Sinclair, Sinclair Eugene and Sinclair Media of

Oregon, LLC are liable for direct and indirect copyright infringement with respect to these 101

Registered Images. BGP is entitled at least to statutory or actual damages for their infringement.

       151.    BGP is entitled to an award of statutory damages against Sinclair, Sinclair Eugene

and Sinclair Media of Oregon, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       152.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Sinclair Eugene and Sinclair Media of Oregon, LLC with respect to each of the 50 Registered

Images that were copied. Between the two articles, Sinclair, Sinclair Eugene and Sinclair Media

of Oregon, LLC copied the Registered Images a total of 210 times (for the November 4 article, 4




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on the first page, 50 on the thumbnails, and 51 enlarged versions, and for the November 10 article,

5 on the first page, 50 on the thumbnails and 50 enlarged versions).

       153.    Upon information and belief, at the time Sinclair, Sinclair Eugene and Sinclair

Media of Oregon, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, Sinclair Eugene and Sinclair Media of Oregon, LLC

became aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and

changed the credit on some but not all of the images from just WENN or WENN.com to also

include “Brittney Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via

WENN.com”) as shown for example in the enlarged versions of the images attached as Exhibit 20.

Those enlarged versions also show continued credit on some of the images to only WENN.com.

It was false to credit the images to WENN.com alone or in combination with Brittney Gobble

Photography. Upon information and belief, Sinclair, Sinclair Eugene and Sinclair Media of

Oregon, LLC provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       154.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Sinclair Eugene and Sinclair

Media of Oregon, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, Sinclair Eugene and Sinclair

Media of Oregon, LLC of at least $130,000 and up to $1,300,000.




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                                  SINCLAIR EUGENE/KVAL

       155.     In addition to the above allegations and damages against Sinclair, Sinclair Eugene

and Sinclair Media of Oregon, LLC with respect to the KCBY station, Sinclair, Sinclair Eugene

and Sinclair Media of Oregon, LLC are further liable with respect to the KVAL station.

       156.     After November 2, 2015, upon information and belief, Sinclair, Sinclair Eugene

and/or Sinclair Media of Oregon, LLC reproduced and displayed, without license or permission,

at least 51 of BGP’s copyrighted images on its www.kval.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibits 21 and 22 are true and correct copies of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

       157.     Sinclair, Sinclair Eugene and Sinclair Media of Oregon, LLC are charged with

direct and indirect copyright infringement with respect to those 50 images, which are identified in

detail below.

       158.     Attached hereto as Exhibit 21 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

21. Upon clicking the “View Photo Gallery, 53 photos” link on that page, another page was

displayed showing 53 thumbnails corresponding to Images 1-51. Upon clicking each of those

thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each of

those 53 enlarged views is included as part of Exhibit 21.




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       159.    Attached hereto as Exhibit 22 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

22, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 22.

       160.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Between

the two articles, there are a total of 104 images, 101 of which are Registered Images, i.e., Images

1-25 and 27-51 (Image 26 is not registered). Sinclair, Sinclair Eugene and Sinclair Media of

Oregon, LLC are liable for direct and indirect copyright infringement with respect to these 101

Registered Images. BGP is entitled at least to statutory or actual damages for their infringement.

       161.    BGP is entitled to an award of statutory damages against Sinclair, Sinclair Eugene

and Sinclair Media of Oregon, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       162.    Alternatively, BGP is entitled to an award of actual damages against Sinclair

Eugene and Sinclair Media of Oregon, LLC with respect to each of the 50 Registered Images that




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were copied. Between the two articles, Sinclair Eugene and Sinclair Media of Oregon, LLC copied

the Registered Images a total of 211 times (for the November 4 article, 5 on the first page, 50 on

the thumbnails, and 51 enlarged versions, and for the November 10 article, 5 on the first page, 50

on the thumbnails and 50 enlarged versions).

       163.    Upon information and belief, at the time Sinclair Eugene and Sinclair Media of

Oregon, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair Eugene and Sinclair Media of Oregon, LLC became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some

but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 22. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair Eugene and Sinclair Media of Oregon, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

       164.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Sinclair Eugene and Sinclair

Media of Oregon, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP




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is entitled to an award of statutory CMI damages against Sinclair, Sinclair Eugene and Sinclair

Media of Oregon, LLC of at least $130,000 and up to $1,300,000.

                                  SINCLAIR YAKIMA/KEPR

       165.     After November 2, 2015, upon information and belief, Sinclair, Sinclair Yakima

and/or Sinclair Media of Washington, LLC reproduced and displayed, without license or

permission, at least 51 of BGP’s copyrighted images on its www.keprtv.com website. The

copyrights for 50 of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117

Registrations. Attached hereto as Exhibits 23 and 24 are true and correct copies of a number of

web site screen shots evidencing direct infringement of BGP’s copyrighted images. The screen

shots also evidence false credit in whole or in part to WENN or WENN.com constituting

falsification of copyright management information in violation of 17 U.S.C. § 1202(a).

       166.     Sinclair, Sinclair Yakima and Sinclair Media of Washington, LLC are charged with

direct and indirect copyright infringement with respect to those 50 images, which are identified in

detail below.

       167.     Attached hereto as Exhibit 23 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

23. Upon clicking the “View Photo Gallery, 53 photos” link on that page, another page was

displayed showing 53 thumbnails corresponding to Images 1-51. Upon clicking each of those

thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each of

those 53 enlarged views is included as part of Exhibit 23.




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       168.     Attached hereto as Exhibit 24 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed. Five of BGP’s

copyrighted images are reproduced and displayed on the first page of Exhibit 24, namely Images

1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page, another

page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking each of

those thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each

of those 51 enlarged views is included as part of Exhibit 24.

       169.     The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Between

the two articles, there are a total of 104 images, 101 of which are Registered Images, i.e., Images

1-25 and 27-51 (Image 26 is not registered). Sinclair, Sinclair Yakima and Sinclair Media of

Washington, LLC are liable for direct and indirect copyright infringement with respect to these

101 Registered Images.      BGP is entitled at least to statutory or actual damages for their

infringement.

       170.     BGP is entitled to an award of statutory damages against Sinclair, Sinclair Yakima

and Sinclair Media of Washington, LLC of at least $750 for each of the 50 Registered Images that

were copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.




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       171.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Sinclair Yakima and Sinclair Media of Washington, LLC with respect to each of the 50 Registered

Images that were copied. Between the two articles, Sinclair, Sinclair Yakima and Sinclair Media

of Washington, LLC copied the Registered Images a total of 211 times (for the November 4 article,

5 on the first page, 50 on the thumbnails, and 51 enlarged versions, and for the November 10

article, 5 on the first page, 50 on the thumbnails and 50 enlarged versions).

       172.    Upon information and belief, at the time Sinclair, Sinclair Yakima and Sinclair

Media of Washington, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, Sinclair Yakima and Sinclair Media of Washington, LLC

became aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and

changed the credit on some but not all of the images from just WENN or WENN.com to also

include “Brittney Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via

WENN.com”) as shown for example in the enlarged versions of the images attached as Exhibit 24.

Those enlarged versions also show continued credit on some of the images to only WENN.com.

It was false to credit the images to WENN.com alone or in combination with Brittney Gobble

Photography. Upon information and belief, Sinclair, Sinclair Yakima and Sinclair Media of

Washington, LLC provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       173.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Sinclair Yakima and Sinclair

Media of Washington, LLC committed at least 52 false credit violations (51 on each of the enlarged




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images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, Sinclair Yakima and Sinclair

Media of Washington, LLC of at least $130,000 and up to $1,300,000.

                                    SINCLAIR YAKIMA/KIMA

           174.   In addition to the above allegations and damages against Sinclair, Sinclair Yakima

and Sinclair Media of Washington, LLC with respect to the KEPR station, Sinclair, Sinclair

Yakima and Sinclair Media of Washington, LLC are further liable with respect to the KIMA

station.

           175.   After November 2, 2015, upon information and belief, Sinclair, Sinclair Yakima

and/or Sinclair Media of Washington, LLC reproduced and displayed, without license or

permission, at least 51 of BGP’s copyrighted images on its www.kimatv.com website. The

copyrights for 50 of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117

Registrations. Attached hereto as Exhibits 25 and 26 are true and correct copies of a number of

web site screen shots evidencing direct infringement of BGP’s copyrighted images. The screen

shots also evidence false credit in whole or in part to WENN or WENN.com constituting

falsification of copyright management information in violation of 17 U.S.C. § 1202(a).

           176.   Sinclair, Sinclair Yakima and Sinclair Media of Washington, LLC are charged with

direct and indirect copyright infringement with respect to those 50 images, which are identified in

detail below.

           177.   Attached hereto as Exhibit 25 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit




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23. Upon clicking the “View Photo Gallery, 105 photos” link on that page, upon information and

belief, another page was displayed showing a number of thumbnails corresponding to Images 1-

51. Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 105 enlarged views is included as part of Exhibit 25.

       178.     Attached hereto as Exhibit 26 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

26, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 26.

       179.     The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Between

the two articles, there are a total of 156 images, 153 of which are Registered Images, i.e., Images

1-25 and 27-51 (Image 26 is not registered). Sinclair, Sinclair Yakima and Sinclair Media of

Washington, LLC are liable for direct and indirect copyright infringement with respect to these

153 Registered Images.      BGP is entitled at least to statutory or actual damages for their

infringement.

       180.     BGP is entitled to an award of statutory damages against Sinclair, Sinclair Yakima

and Sinclair Media of Washington, LLC of at least $750 for each of the 50 Registered Images that

were copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,




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for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       181.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Sinclair Yakima and Sinclair Media of Washington, LLC with respect to each of the 50 Registered

Images that were copied. Between the two articles, Sinclair, Sinclair Yakima and Sinclair Media

of Washington, LLC copied the Registered Images at least a total of 217 times (for the November

4 article, 5 on the first page, and 103 enlarged versions, and for the November 10 article, 5 on the

first page, 50 on the thumbnails and 50 enlarged versions).

       182.    Upon information and belief, at the time Sinclair, Sinclair Yakima and Sinclair

Media of Washington, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, Sinclair Yakima and Sinclair Media of Washington, LLC

became aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and

changed the credit on some but not all of the images from just WENN or WENN.com to also

include “Brittney Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via

WENN.com”) as shown for example in the enlarged versions of the images attached as Exhibit 26.

Those enlarged versions also show continued credit on some of the images to only WENN.com.

It was false to credit the images to WENN.com alone or in combination with Brittney Gobble

Photography. Upon information and belief, Sinclair, Sinclair Yakima and Sinclair Media of

Washington, LLC provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).




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         183.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Sinclair Yakima and Sinclair

Media of Washington, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, Sinclair Yakima and Sinclair

Media of Washington, LLC of at least $130,000 and up to $1,300,000.

                                              KEYE

         184.   After November 2, 2015, upon information and belief, Sinclair, KEYE and/or San

Antonio Television, LLC reproduced and displayed, without license or permission, at least 51 of

BGP’s copyrighted images on its www.cbsaustin.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

27 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).

         185.   Sinclair, KEYE and San Antonio Television, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         186.   Attached hereto as Exhibit 27 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit




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27, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 27.

        187.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KEYE and San Antonio Television, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        188.    BGP is entitled to an award of statutory damages against Sinclair, KEYE and San

Antonio Television, LLC of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images

that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for

example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        189.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KEYE and San Antonio Television, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, KEYE and San Antonio Television, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.




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       190.    Upon information and belief, at the time Sinclair, KEYE and San Antonio

Television, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, KEYE and San Antonio Television, LLC became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some

but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 27. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, KEYE and San Antonio Television, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

       191.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KEYE and San Antonio

Television, LLC committed at least 52 false credit violations (51 on each of the enlarged images

and once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled

to an award of statutory CMI damages against Sinclair, KEYE and San Antonio Television, LLC

of at least $130,000 and up to $1,300,000.

                                               KGBT

       192.    After November 2, 2015, upon information and belief, Sinclair, KGBT and/or

Chesapeake Media I, LLC reproduced and displayed, without license or permission, at least 51 of




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BGP’s copyrighted images on its www.valleycentral.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 28 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

       193.    Sinclair, KGBT and Chesapeake Media I, LLC are charged with direct and indirect

copyright infringement with respect to those 50 images, which are identified in detail below.

       194.    Attached hereto as Exhibit 28 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

28, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 28.

       195.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KGBT and Chesapeake Media I, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.




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       196.    BGP is entitled to an award of statutory damages against Sinclair, KGBT and

Chesapeake Media I, LLC of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images

that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for

example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       197.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KBGT and Chesapeake Media I, LLC with respect to each of the 50 Registered Images that were

copied. Sinclair, KBGT and Chesapeake Media I, LLC copied all 50 of the Registered Images

twice (once in the thumbnail of 51 images and once in the enlarged views of each thumbnail) and

also copied five of the Registered Images a third time, at the beginning of the article, for a total of

105 copies.

       198.    Upon information and belief, at the time Sinclair, KGBT and Chesapeake Media I,

LLC initially reproduced and displayed the Registered Images on its above-identified website, it

credited only WENN or WENN.com for the images. Upon information and belief, at some point

thereafter, Sinclair, KGBT and Chesapeake Media I, LLC became aware of Mrs. Gobble’s dispute

with WENN about the images and/or false credit, and changed the credit on some but not all of

the images from just WENN or WENN.com to also include “Brittney Gobble Photography” (e.g.,

“Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for example in the

enlarged versions of the images attached as Exhibit 28. Those enlarged versions also show

continued credit on some of the images to only WENN.com. It was false to credit the images to

WENN.com alone or in combination with Brittney Gobble Photography. Upon information and




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belief, Sinclair, KGBT and Chesapeake Media I, LLC provided, distributed and/or imported this

false credit with the intent to induce, enable, facilitate or conceal infringement in violation of 17

U.S.C. § 1202(a).

         199.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KGBT and Chesapeake

Media I, LLC committed at least 52 false credit violations (51 on each of the enlarged images and

once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled to

an award of statutory CMI damages against Sinclair, KGBT and Chesapeake Media I, LLC of at

least $130,000 and up to $1,300,000.

                                              KHQA

         200.   After November 2, 2015, upon information and belief, Sinclair, KHQA and/or

Sinclair Television of Illinois, LLC reproduced and displayed, without license or permission, at

least 51 of BGP’s copyrighted images on its www.khqa.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibit 29 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         201.   Sinclair, KHQA and Sinclair Television of Illinois, LLC are charged with direct

and indirect copyright infringement with respect to those 50 images, which are identified in detail

below.




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       202.    Attached hereto as Exhibit 29 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

29, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 29.

       203.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KHQA and Sinclair Television of Illinois, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       204.    BGP is entitled to an award of statutory damages against Sinclair, KHQA and

Sinclair Television of Illinois, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       205.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KHQA and Sinclair Television of Illinois, LLC with respect to each of the 50 Registered Images




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that were copied. Sinclair, KHQA and Sinclair Television of Illinois, LLC copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        206.    Upon information and belief, at the time Sinclair, KHQA and Sinclair Television

of Illinois, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, KHQA and Sinclair Television of Illinois, LLC became aware of

Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 29. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                    Upon

information and belief, Sinclair, KHQA and Sinclair Television of Illinois, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

        207.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KHQA and Sinclair

Television of Illinois, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP




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is entitled to an award of statutory CMI damages against Sinclair, KHQA and Sinclair Television

of Illinois, LLC of at least $130,000 and up to $1,300,000.

                               SINCLAIR LEWISTON/KLEW

       208.    After November 2, 2015, upon information and belief, Sinclair, Sinclair Lewiston

and/or Sinclair Media of Washington, LLC reproduced and displayed, without license or

permission, at least 51 of BGP’s copyrighted images on its www.klewtv.com website. The

copyrights for 50 of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117

Registrations. Attached hereto as Exhibits 30 and 31 are true and correct copies of a number of

web site screen shots evidencing direct infringement of BGP’s copyrighted images. The screen

shots also evidence false credit in whole or in part to WENN or WENN.com constituting

falsification of copyright management information in violation of 17 U.S.C. § 1202(a).

       209.    Sinclair, Sinclair Lewiston and Sinclair Media of Washington, LLC are charged

with direct and indirect copyright infringement with respect to those 50 images, which are

identified in detail below.

       210.    Attached hereto as Exhibit 30 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

30. Upon clicking the “View Photo Gallery, 53 photos” link on that page, another page was

displayed showing 53 thumbnails corresponding to Images 1-51. Upon clicking each of those

thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each of

those 53 enlarged views is included as part of Exhibit 30.




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       211.     Attached hereto as Exhibit 31 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

31, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 31.

       212.     The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Between

the two articles, there are a total of 104 images, 101 of which are Registered Images, i.e., Images

1-25 and 27-51 (Image 26 is not registered). Sinclair, Sinclair Lewiston and Sinclair Media of

Washington, LLC are liable for direct and indirect copyright infringement with respect to these

101 Registered Images.      BGP is entitled at least to statutory or actual damages for their

infringement.

       213.     BGP is entitled to an award of statutory damages against Sinclair, Sinclair Lewiston

and Sinclair Media of Washington, LLC of at least $750 for each of the 50 Registered Images that

were copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.




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       214.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Sinclair Lewiston and Sinclair Media of Washington, LLC with respect to each of the 50

Registered Images that were copied. Between the two articles, Sinclair, Sinclair Lewiston copied

the Registered Images a total of 211 times (for the November 4 article, 5 on the first page, 50 on

the thumbnails, and 51 enlarged versions, and for the November 10 article, 5 on the first page, 50

on the thumbnails and 50 enlarged versions).

       215.    Upon information and belief, at the time Sinclair, Sinclair Lewiston and Sinclair

Media of Washington, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, Sinclair Lewiston and Sinclair Media of Washington,

LLC became aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit,

and changed the credit on some but not all of the images from just WENN or WENN.com to also

include “Brittney Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via

WENN.com”) as shown for example in the enlarged versions of the images attached as Exhibit 31.

Those enlarged versions also show continued credit on some of the images to only WENN.com.

It was false to credit the images to WENN.com alone or in combination with Brittney Gobble

Photography. Upon information and belief, Sinclair, Sinclair Lewiston and Sinclair Media of

Washington, LLC provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       216.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Sinclair Lewiston and

Sinclair Media of Washington, LLC committed at least 52 false credit violations (51 on each of




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the enlarged images and once beneath the caption for Image 24 at the beginning of the article). As

such, BGP is entitled to an award of statutory CMI damages against Sinclair, Sinclair Lewiston

and Sinclair Media of Washington, LLC of at least $130,000 and up to $1,300,000.

                                 SINCLAIR SEATTLE/KOMO

         217.   After November 2, 2015, upon information and belief, Sinclair, Sinclair Seattle

and/or Sinclair Media of Seattle, LLC reproduced and displayed, without license or permission, at

least 51 of BGP’s copyrighted images on its www.komonews.com website. The copyrights for 50

of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibits 32 and 33 are true and correct copies of a number of web site screen shots

evidencing direct infringement of BGP’s copyrighted images. The screen shots also evidence false

credit in whole or in part to WENN or WENN.com constituting falsification of copyright

management information in violation of 17 U.S.C. § 1202(a).

         218.   Sinclair, Sinclair Seattle and Sinclair Media of Seattle, LLC are charged with direct

and indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         219.   Attached hereto as Exhibit 32 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

32. Upon clicking the “View Photo Gallery, 53 photos” link on that page, another page was

displayed showing 53 thumbnails corresponding to Images 1-51. Upon clicking each of those

thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each of

those 53 enlarged views is included as part of Exhibit 32.




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       220.    Attached hereto as Exhibit 33 is a true and correct copy of an additional article from

the www.komonews.com website similar to those identified above, this one dated November 9,

2015. Four of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

33, namely Images 1, 2, 3 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that

page, upon information and belief, another page would have been displayed showing 51

thumbnails corresponding to Images 1-51. Upon information and belief, upon clicking each of

those thumbnails, an enlarged view of the corresponding image would have displayed on the

screen, the same as described above in connection with other web sites and similar articles.

       221.    Upon information and belief, the enlarged views were copies of Images 1-51, with

the understanding that the versions of Images 7, 13, 14, 15, 21, 22 and 34 were edited versions as

explained above. Upon information and belief, between the two articles, there are a total of 104

images, 101 of which are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not

registered). Sinclair, Sinclair Seattle and Sinclair Media of Seattle, LLC are liable for direct and

indirect copyright infringement with respect to these 101 Registered Images. BGP is entitled at

least to statutory or actual damages for their infringement.

       222.    BGP is entitled to an award of statutory damages against Sinclair, Sinclair Seattle

and Sinclair Media of Seattle, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.




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       223.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Sinclair Seattle and Sinclair Media of Seattle, LLC with respect to each of the 50 Registered

Images that were copied. Upon information and belief, between the two articles, Sinclair, Sinclair

Seattle and Sinclair Media of Seattle, LLC copied the Registered Images a total of 213 times (for

the November 4 article, 5 on the first page, 52 on the thumbnails, and 52 enlarged versions, and

for the November 9 article, 4 on the first page, 50 on the thumbnails and 50 enlarged versions).

       224.    Upon information and belief, at the time Sinclair, Sinclair Seattle and Sinclair

Media of Seattle, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, Sinclair Seattle and Sinclair Media of Seattle, LLC

became aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and

changed the credit on some but not all of the images from just WENN or WENN.com to also

include “Brittney Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via

WENN.com”) as shown for example in the enlarged versions of the images from the other similar

articles. Upon information and belief, those enlarged versions also show continued credit on some

of the images to only WENN.com. It was false to credit the images to WENN.com alone or in

combination with Brittney Gobble Photography. Upon information and belief, Sinclair, Sinclair

Seattle and Sinclair Media of Seattle, LLC provided, distributed and/or imported this false credit

with the intent to induce, enable, facilitate or conceal infringement in violation of 17 U.S.C. §

1202(a).

       225.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Upon information and belief, Sinclair,




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Sinclair Seattle and Sinclair Media of Seattle, LLC committed at least 52 false credit violations

(51 on each of the enlarged images and once beneath the caption for Image 24 at the beginning of

the article attached as Exhibit 33). As such, BGP is entitled to an award of statutory CMI damages

against Sinclair, Sinclair Seattle and Sinclair Media of Seattle, LLC of at least $130,000 and up to

$1,300,000.

                                   SINCLAIR RADIO/KPLZ

         226.   After November 2, 2015, upon information and belief, Sinclair, Sinclair Radio

and/or Sinclair Radio of Seattle, LLC reproduced and displayed, without license or permission, at

least 24 of BGP’s copyrighted images on its www.star1015.com website. The copyrights for all

24 of those images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibit 34 is a true and correct copy of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images.

         227.   Sinclair, Sinclair Radio and Sinclair Radio of Seattle, LLC are charged with direct

and indirect copyright infringement with respect to those 24 images, which are identified in detail

below.

         228.   Attached hereto as Exhibit 34 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

34. Upon clicking the “View Photo Gallery, 24 photos” link on that page, another page was

displayed showing 24 thumbnails corresponding to 24 of Images 1-51. Upon clicking each of

those thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each

of those 24 enlarged views is included as part of Exhibit 34.




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        229.    The enlarged views are copies of certain of Images 1-51, with the understanding

that the versions of Images 7, 13, 14, 15, 21, 22 and 34 to the extent included in Exhibit 34 are

edited versions as explained above. Each of the 24 images are Registered Images. Sinclair, Seattle

Radio and Sinclair Radio of Seattle, LLC are liable for direct and indirect copyright infringement

with respect to these 24 Registered Images. BGP is entitled at least to statutory or actual damages

for their infringement.

        230.    BGP is entitled to an award of statutory damages against Sinclair, Seattle Radio

and Sinclair Radio of Seattle, LLC of at least $750 for each of the 24 Registered Images that were

copied (i.e., at least $18,000), and up to a maximum of $150,000 for each of the 24 Registered

Images that were copied (i.e., up to $3,600,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        231.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Seattle Radio and Sinclair Radio of Seattle, LLC with respect to each of the 24 Registered Images

that were copied. Sinclair, Seattle Radio and Sinclair Radio of Seattle, LLC copied all 24 of the

Registered Images twice (once in the thumbnail of 24 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 53 copies.

        232.    It is noted that, unlike the other Defendants, BGP is not aware of any evidence that

Sinclair Radio and Sinclair Radio of Seattle, LLC falsely credited the images after learning of any

dispute related to the images. As such, BGP is not including a CMI claim against Sinclair Radio




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and Sinclair Radio of Seattle, LLC at this time but reserves the right to do so if discovery reveals

the basis for such claim.

                                              KRCG

         233.   After November 2, 2015, upon information and belief, Sinclair, KRCG and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.krcgtv.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 35 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         234.   Sinclair, KRCG and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         235.   Attached hereto as Exhibit 35 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

35, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 34.




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        236.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KRCG and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        237.    BGP is entitled to an award of statutory damages against Sinclair, KRCG and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        238.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KRCG and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, KRCG and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        239.    Upon information and belief, at the time Sinclair, KRCG and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, KRCG and Sinclair Communications, LLC became aware




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of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 34. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, KRCG and Sinclair Communications, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

       240.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KRCG and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, KRCG and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               KTUL

       241.    After November 2, 2015, upon information and belief, Sinclair, KTUL and/or

KTUL, LLC reproduced and displayed, without license or permission, at least 51 of BGP’s

copyrighted images on its www.ktul.com website. The copyrights for 50 of those 51 images are

registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit 36 is a

true and correct copy of a number of web site screen shots evidencing direct infringement of BGP’s

copyrighted images. The screen shots also evidence false credit in whole or in part to WENN or




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WENN.com constituting falsification of copyright management information in violation of 17

U.S.C. § 1202(a).

       242.    Sinclair, KTUL and KTUL, LLC are charged with direct and indirect copyright

infringement with respect to those 50 images, which are identified in detail below.

       243.    Attached hereto as Exhibit 36 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

36, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 36.

       244.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KTUL and KTUL, LLC are liable for direct and indirect copyright infringement with

respect to these 50 Registered Images. BGP is entitled at least to statutory or actual damages for

their infringement.

       245.    BGP is entitled to an award of statutory damages against Sinclair, KTUL and

KTUL, LLC of at least $750 for each of the 50 Registered Images that were copied (i.e., at least

$37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that were copied

(i.e., up to $7,500,000) if the infringement is found to be willful based, for example, upon




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continued infringement after becoming aware of the alleged infringement and/or continued credit

to WENN.com for the images and failure to properly credit the images only to Brittney Gobble.

       246.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KTUL and KTUL, LLC with respect to each of the 50 Registered Images that were copied.

Sinclair, KTUL and KTUL, LLC copied all 50 of the Registered Images twice (once in the

thumbnail of 51 images and once in the enlarged views of each thumbnail) and also copied five of

the Registered Images a third time, at the beginning of the article, for a total of 105 copies.

       247.    Upon information and belief, at the time Sinclair, KTUL and KTUL, LLC initially

reproduced and displayed the Registered Images on its above-identified website, it credited only

WENN or WENN.com for the images. Upon information and belief, at some point thereafter,

Sinclair, KTUL and KTUL, LLC became aware of Mrs. Gobble’s dispute with WENN about the

images and/or false credit, and changed the credit on some but not all of the images from just

WENN or WENN.com to also include “Brittney Gobble Photography” (e.g., “Photo Credit:

Brittney Gobble Photography via WENN.com”) as shown for example in the enlarged versions of

the images attached as Exhibit 36. Those enlarged versions also show continued credit on some

of the images to only WENN.com. It was false to credit the images to WENN.com alone or in

combination with Brittney Gobble Photography. Upon information and belief, Sinclair, KTUL

and KTUL, LLC provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       248.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KTUL and KTUL, LLC

committed at least 52 false credit violations (51 on each of the enlarged images and once beneath




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the caption for Image 24 at the beginning of the article). As such, BGP is entitled to an award of

statutory CMI damages against Sinclair, KTUL and KTUL, LLC of at least $130,000 and up to

$1,300,000.

                                             KTVL

       249.    After November 2, 2015, upon information and belief, Sinclair, KTVL and/or

WSMH, Inc. reproduced and displayed, without license or permission, at least 51 of BGP’s

copyrighted images on its www.ktvl.com website. The copyrights for 50 of those 51 images are

registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit 37 is a

true and correct copy of a number of web site screen shots evidencing direct infringement of BGP’s

copyrighted images. The screen shots also evidence false credit in whole or in part to WENN or

WENN.com constituting falsification of copyright management information in violation of 17

U.S.C. § 1202(a).

       250.    Sinclair, KTVL and WSMH, Inc. are charged with direct and indirect copyright

infringement with respect to those 50 images, which are identified in detail below.

       251.    Attached hereto as Exhibit 37 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed believed to be dated November 9,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

29, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 37.




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       252.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KTVL and WSMH, Inc. are liable for direct and indirect copyright infringement with

respect to these 50 Registered Images. BGP is entitled at least to statutory or actual damages for

their infringement.

       253.    BGP is entitled to an award of statutory damages against Sinclair, KTVL and

WSMH, Inc. of at least $750 for each of the 50 Registered Images that were copied (i.e., at least

$37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that were copied

(i.e., up to $7,500,000) if the infringement is found to be willful based, for example, upon

continued infringement after becoming aware of the alleged infringement and/or continued credit

to WENN.com for the images and failure to properly credit the images only to Brittney Gobble.

       254.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KTVL and WSMH, Inc. with respect to each of the 50 Registered Images that were copied.

Sinclair, KTVL and WSMH, Inc. copied all 50 of the Registered Images twice (once in the

thumbnail of 51 images and once in the enlarged views of each thumbnail) and also copied five of

the Registered Images a third time, at the beginning of the article, for a total of 105 copies.

       255.    Upon information and belief, at the time Sinclair, KTVL and WSMH, Inc. initially

reproduced and displayed the Registered Images on its above-identified website, it credited only

WENN or WENN.com for the images. Upon information and belief, at some point thereafter,

Sinclair, KTVL and WSMH, Inc. became aware of Mrs. Gobble’s dispute with WENN about the

images and/or false credit, and changed the credit on some but not all of the images from just

WENN or WENN.com to also include “Brittney Gobble Photography” (e.g., “Photo Credit:




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Brittney Gobble Photography via WENN.com”) as shown for example in the enlarged versions of

the images attached as Exhibit 37. Those enlarged versions also show continued credit on some

of the images to only WENN.com. It was false to credit the images to WENN.com alone or in

combination with Brittney Gobble Photography. Upon information and belief, Sinclair, KTVL

and WSMH, Inc. provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       256.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KTVL and WSMH, Inc.

committed at least 52 false credit violations (51 on each of the enlarged images and once beneath

the caption for Image 24 at the beginning of the article). As such, BGP is entitled to an award of

statutory CMI damages against Sinclair, KTVL and WSMH, Inc. of at least $130,000 and up to

$1,300,000.

                                              KTVO

       257.    After November 2, 2015, upon information and belief, Sinclair, KTVO and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.ktvo.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

38 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).




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         258.   Sinclair, KTOV and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         259.   Attached hereto as Exhibit 38 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

38, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 38.

         260.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KTVO and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

         261.   BGP is entitled to an award of statutory damages against Sinclair, KTVO and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or




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continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        262.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KTVO and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, KTVO and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        263.    Upon information and belief, at the time Sinclair, KTVO and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, KTVO and Sinclair Communications, LLC became aware

of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 38. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, KTVO and Sinclair Communications, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

        264.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false




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credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KTVO and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, KTVO and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                              KUTV

       265.    After November 2, 2015, upon information and belief, Sinclair, KUTV and/or

WSMH, Inc. reproduced and displayed, without license or permission, at least 51 of BGP’s

copyrighted images on its www.kutv.com website. The copyrights for 50 of those 51 images are

registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit 39 is a

true and correct copy of a number of web site screen shots evidencing direct infringement of BGP’s

copyrighted images. The screen shots also evidence false credit in whole or in part to WENN or

WENN.com constituting falsification of copyright management information in violation of 17

U.S.C. § 1202(a).

       266.    Sinclair, KUTV and WSMH, Inc. are charged with direct and indirect copyright

infringement with respect to those 50 images, which are identified in detail below.

       267.    Attached hereto as Exhibit 39 is a true and correct copy of an article about the Lykoi

cat breed dated November 9, 2015 from the web site identified in the preceding paragraph. Four

of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 39, namely

Images 1, 2, 3 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page, upon

information and belief, another page would have been displayed showing 51 thumbnails

corresponding to Images 1-51.      Upon information and belief, upon clicking each of those




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thumbnails, an enlarged view of the corresponding image would have displayed on the screen, the

same as described above in connection with other web sites and similar articles.

       268.    Upon information and belief, the enlarged views were copies of Images 1-51, with

the understanding that the versions of Images 7, 13, 14, 15, 21, 22 and 34 were edited versions as

explained above. Upon information and belief, there are a total of 51 images, 50 of which are

Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered). Sinclair, KUTV and

WSMH, Inc. are liable for direct and indirect copyright infringement with respect to these 50

Registered Images. BGP is entitled at least to statutory or actual damages for their infringement.

       269.    BGP is entitled to an award of statutory damages against Sinclair, KUTV and

WSMH, Inc. of at least $750 for each of the 50 Registered Images that were copied (i.e., at least

$37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that were copied

(i.e., up to $7,500,000) if the infringement is found to be willful based, for example, upon

continued infringement after becoming aware of the alleged infringement and/or continued credit

to WENN.com for the images and failure to properly credit the images only to Brittney Gobble.

       270.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KUTV and WSMH, Inc. with respect to each of the 50 Registered Images that were copied. Upon

information and belief, Sinclair, KUTV and WSMH, Inc. copied all 50 of the Registered Images

twice (once in the thumbnail of 51 images and once in the enlarged views of each thumbnail) and

also copied four of the Registered Images a third time, at the beginning of the article, for a total of

104 copies.

       271.    Upon information and belief, at the time Sinclair, KUTV and WSMH, Inc. initially

reproduced and displayed the Registered Images on its above-identified website, it credited only

WENN or WENN.com for the images. Upon information and belief, at some point thereafter,




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Sinclair, KUTV and WSMH, Inc. became aware of Mrs. Gobble’s dispute with WENN about the

images and/or false credit, and changed the credit on some but not all of the images from just

WENN or WENN.com to also include “Brittney Gobble Photography” (e.g., “Photo Credit:

Brittney Gobble Photography via WENN.com”) as shown for example in the enlarged versions of

the images from the other similar articles. Upon information and belief, those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, KUTV and WSMH, Inc. provided, distributed and/or imported

this false credit with the intent to induce, enable, facilitate or conceal infringement in violation of

17 U.S.C. § 1202(a).

       272.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Upon information and belief, Sinclair,

KUTV and WSMH, Inc. committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article attached as Exhibit

39). As such, BGP is entitled to an award of statutory CMI damages against Sinclair, KUTV and

WSMH, Inc. of at least $130,000 and up to $1,300,000.

                                                KVII

       273.    After November 2, 2015, upon information and belief, Sinclair, KVII and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.abc7amarillo.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibit 40 is a true and correct copy of a number of web site screen shots evidencing direct




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infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         274.   Sinclair, KVII and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         275.   Attached hereto as Exhibit 40 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 10, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 40, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 40.

         276.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KVII and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

         277.   BGP is entitled to an award of statutory damages against Sinclair, KVII and Sinclair

Communications, LLC of at least $750 for each of the 50 Registered Images that were copied (i.e.,

at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that




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were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for example,

upon continued infringement after becoming aware of the alleged infringement and/or continued

credit to WENN.com for the images and failure to properly credit the images only to Brittney

Gobble.

       278.    Alternatively, BGP is entitled to an award of actual damages against Sinclair, KVII

and Sinclair Communications, LLC with respect to each of the 50 Registered Images that were

copied. Sinclair, KVII and Sinclair Communications, LLC copied all 50 of the Registered Images

twice (once in the thumbnail of 51 images and once in the enlarged views of each thumbnail) and

also copied five of the Registered Images a third time, at the beginning of the article, for a total of

105 copies.

       279.    Upon information and belief, at the time Sinclair, KVII and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, KVII and Sinclair Communications, LLC became aware

of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 40. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, KVII and Sinclair Communications, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).




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         280.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B).          Sinclair, KVII and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, KVII and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                              WACH

         281.   After November 2, 2015, upon information and belief, Sincliar, WACH and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.wach.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 41 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         282.   Sinclair, WACH and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         283.   Attached hereto as Exhibit 41 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit




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41, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 41.

        284.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WACH and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        285.    BGP is entitled to an award of statutory damages against Sinclair, WACH and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        286.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WACH and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WACH and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.




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       287.    Upon information and belief, at the time Sinclair, WACH and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WACH and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 41. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, WACH and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       288.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WACH and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WACH and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               WFXL

       289.    After November 2, 2015, upon information and belief, Sinclair, WFXL and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least




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51 of BGP’s copyrighted images on its www.wfxl.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

42 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).

         290.   Sinclair, WFXL and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         291.   Attached hereto as Exhibit 42 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

42, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 42.

         292.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WFXL and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.




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        293.    BGP is entitled to an award of statutory damages against Sinclair, WFXL and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        294.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WFXL and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WFXL and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        295.    Upon information and belief, at the time Sinclair, WFXL and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WFXL and Sinclair Communications, LLC became aware

of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 42. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                Upon




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information and belief, Sinclair, WFXL and Sinclair Communications, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

         296.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WFXL and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WFXL and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               WGXA

         297.   After November 2, 2015, upon information and belief, Sinclair, WGXA and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.wgxa.tv website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

43 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).

         298.   Sinclair, WGXA and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.




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       299.    Attached hereto as Exhibit 43 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 43, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 43.

       300.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WGXA and Sinclair Communications, LLC are liable for direct copyright infringement

with respect to these 50 Registered Images. BGP is entitled at least to statutory or actual damages

for their infringement.

       301.    BGP is entitled to an award of statutory damages against Sinclair, WGXA and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       302.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WGXA and Sinclair Communications, LLC with respect to each of the 50 Registered Images that




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were copied. Sinclair, WGXA and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        303.    Upon information and belief, at the time Sinclair, WGXA and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WGXA and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 43. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, WGXA and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

        304.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WGXA and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP




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is entitled to an award of statutory CMI damages against Sinclair, WGXA and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                             WJAR

       305.    After November 2, 2015, upon information and belief, Sinclair, WJAR and/or

Harrisburg Television, Inc. reproduced and displayed, without license or permission, at least 51 of

BGP’s copyrighted images on its www.turnto10.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

44 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).

       306.    Sinclair, WJAR and Harrisburg Television, Inc. are charged with direct and indirect

copyright infringement with respect to those 50 images, which are identified in detail below.

       307.    Attached hereto as Exhibit 44 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

44, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 44.

       308.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of




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the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WJAR and Harrisburg Television, Inc. are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       309.    BGP is entitled to an award of statutory damages against Sinclair, WJAR and

Harrisburg Television, Inc. of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images

that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for

example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       310.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WJAR and Harrisburg Television, Inc. with respect to each of the 50 Registered Images that were

copied. Sinclair, WJAR and Harrisburg Television, Inc. copied all 50 of the Registered Images

twice (once in the thumbnail of 51 images and once in the enlarged views of each thumbnail) and

also copied five of the Registered Images a third time, at the beginning of the article, for a total of

105 copies.

       311.    Upon information and belief, at the time Sinclair, WJAR and Harrisburg

Television, Inc. initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, WJAR and Harrisburg Television, Inc. became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some

but not all of the images from just WENN or WENN.com to also include “Brittney Gobble




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Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 44. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, WJAR and Harrisburg Television, Inc. provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

       312.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WJAR and Harrisburg

Television, Inc. committed at least 52 false credit violations (51 on each of the enlarged images

and once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled

to an award of statutory CMI damages against Sinclair, WJAR and Harrisburg Television, Inc. of

at least $130,000 and up to $1,300,000.

                                               WKRC

       313.    After November 2, 2015, upon information and belief, Sinclair, WKRC and/or

Sinclair Media III, Inc. reproduced and displayed, without license or permission, at least 51 of

BGP’s copyrighted images on its www.local12.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

45 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).




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       314.    Sinclair, WKRC and Sinclair Media III, Inc. are charged with direct and indirect

copyright infringement with respect to those 50 images, which are identified in detail below.

       315.    Attached hereto as Exhibit 45 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 45, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 45.

       316.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WKRC and Sinclair Media III, Inc. are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       317.    BGP is entitled to an award of statutory damages against Sinclair, WKRC and

Sinclair Media III, Inc. of at least $750 for each of the 50 Registered Images that were copied (i.e.,

at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that

were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for example,

upon continued infringement after becoming aware of the alleged infringement and/or continued

credit to WENN.com for the images and failure to properly credit the images only to Brittney

Gobble.




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          318.   Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WKRC and Sinclair Media III, Inc. with respect to each of the 50 Registered Images that were

copied. Sinclair, WKRC and Sinclair Media III, Inc. copied all 50 of the Registered Images twice

(once in the thumbnail of 51 images and once in the enlarged views of each thumbnail) and also

copied five of the Registered Images a third time, at the beginning of the article, for a total of 105

copies.

          319.   Upon information and belief, at the time Sinclair, WKRC and Sinclair Media III,

Inc. initially reproduced and displayed the Registered Images on its above-identified website, it

credited only WENN or WENN.com for the images. Upon information and belief, at some point

thereafter, Sinclair, WKRC and Sinclair Media III, Inc. became aware of Mrs. Gobble’s dispute

with WENN about the images and/or false credit, and changed the credit on some but not all of

the images from just WENN or WENN.com to also include “Brittney Gobble Photography” (e.g.,

“Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for example in the

enlarged versions of the images attached as Exhibit 45. Those enlarged versions also show

continued credit on some of the images to only WENN.com. It was false to credit the images to

WENN.com alone or in combination with Brittney Gobble Photography. Upon information and

belief, Sinclair, WKRC and Sinclair Media III, Inc. provided, distributed and/or imported this false

credit with the intent to induce, enable, facilitate or conceal infringement in violation of 17 U.S.C.

§ 1202(a).

          320.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WKRC and Sinclair Media

III, Inc. committed at least 52 false credit violations (51 on each of the enlarged images and once




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beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled to an

award of statutory CMI damages against Sinclair, WKRC and Sinclair Media III, Inc. of at least

$130,000 and up to $1,300,000.

                                 GRAY TELEVISION/WLUC

       321.    After November 2, 2015, upon information and belief, Sinclair and/or Gray

Television reproduced and displayed, without license or permission, at least 51 of BGP’s

copyrighted images on its www.uppermichiganssource.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibit 46 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

       322.    Sinclair and Gray Television are charged with copyright infringement with respect

to those 50 images, which are identified in detail below.

       323.    Attached hereto as Exhibit 46 is a true and correct copy of an article about the Lykoi

cat breed dated November 9, 2015 from the web site identified in the preceding paragraph. Four

of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 46, namely

Images 1, 2, 3 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page, upon

information and belief, another page would have been displayed showing 51 thumbnails

corresponding to Images 1-51.      Upon information and belief, upon clicking each of those

thumbnails, an enlarged view of the corresponding image would have displayed on the screen, the

same as described above in connection with other web sites and similar articles.




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          324.   Upon information and belief, the enlarged views were copies of Images 1-51, with

the understanding that the versions of Images 7, 13, 14, 15, 21, 22 and 34 were edited versions as

explained above. Upon information and belief, there are a total of 51 images, 50 of which are

Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered). Sinclair and Gray

Television are liable for copyright infringement with respect to these 50 Registered Images. BGP

is entitled at least to statutory or actual damages for their infringement.

          325.   BGP is entitled to an award of statutory damages against Sinclair and Gray

Television of at least $750 for each of the 50 Registered Images that were copied (i.e., at least

$37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that were copied

(i.e., up to $7,500,000) if the infringement is found to be willful based, for example, upon

continued infringement after becoming aware of the alleged infringement and/or continued credit

to WENN.com for the images and failure to properly credit the images only to Brittney Gobble.

          326.   Alternatively, BGP is entitled to an award of actual damages against Sinclair and

Gray Television with respect to each of the 50 Registered Images that were copied. Upon

information and belief, Sinclair and Gray Television copied all 50 of the Registered Images twice

(once in the thumbnail of 51 images and once in the enlarged views of each thumbnail) and also

copied four of the Registered Images a third time, at the beginning of the article, for a total of 104

copies.

          327.   Upon information and belief, at the time Sinclair and Gray Television initially

reproduced and displayed the Registered Images on its above-identified website, it credited only

WENN or WENN.com for the images. Upon information and belief, at some point thereafter,

Gray Television became aware of Mrs. Gobble’s dispute with WENN about the images and/or

false credit, and changed the credit on some but not all of the images from just WENN or




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WENN.com to also include “Brittney Gobble Photography” (e.g., “Photo Credit: Brittney Gobble

Photography via WENN.com”) as shown for example in the enlarged versions of the images from

the other similar articles. Upon information and belief, those enlarged versions also show

continued credit on some of the images to only WENN.com. It was false to credit the images to

WENN.com alone or in combination with Brittney Gobble Photography. Upon information and

belief, Sinclair and Gray Television provided, distributed and/or imported this false credit with the

intent to induce, enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       328.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Upon information and belief, Sinclair

and Gray Television committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article attached as Exhibit

39). As such, BGP is entitled to an award of statutory CMI damages against Sinclair and Gray

Television of at least $130,000 and up to $1,300,000.

                                              WLUK

       329.    After November 2, 2015, upon information and belief, Sinclair, WLUK and/or

Harrisburg Television, Inc. reproduced and displayed, without license or permission, at least 51 of

BGP’s copyrighted images on its www.fox11online.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 47 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).




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         330.   Sinclair, WLUK and Harrisburg Television, Inc. are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         331.   Attached hereto as Exhibit 47 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

45, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 47.

         332.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WLUK and Harrisburg Television, Inc. are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

         333.   BGP is entitled to an award of statutory damages against Sinclair, WLUK and

Harrisburg Television, Inc. of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images

that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for

example, upon continued infringement after becoming aware of the alleged infringement and/or




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continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        334.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WLUK and Harrisburg Television, Inc. with respect to each of the 50 Registered Images that

WLUK copied. Sinclair, WLUK and Harrisburg Television, Inc. copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        335.    Upon information and belief, at the time Sinclair, WLUK and Harrisburg

Television, Inc. initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, WLUK and Harrisburg Television, Inc. became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some

but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 47. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, WLUK and Harrisburg Television, Inc. provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

        336.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false




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credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WLUK and Harrisburg

Television, Inc. committed at least 52 false credit violations (51 on each of the enlarged images

and once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled

to an award of statutory CMI damages against Sinclair, WLUK and Harrisburg Television, Inc. of

at least $130,000 and up to $1,300,000.

                                             WNWO

         337.   After November 2, 2015, upon information and belief, Sinclair, WNWO and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.nbc24.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 48 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         338.   Sinclair, WNWO and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         339.   Attached hereto as Exhibit 48 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

48, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.




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Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 48.

        340.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WNWO and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        341.    BGP is entitled to an award of statutory damages against Sinclair, WNWO and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        342.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WNWO and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WNWO and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        343.    Upon information and belief, at the time Sinclair, WNWO and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-




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identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WNWO and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 48. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, WNWO and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       344.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WNWO and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WNWO and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000. WOAI320.               After

November 2, 2015, upon information and belief, Sinclair, WOAI and/or San Antonio Television,

LLC reproduced and displayed, without license or permission, at least 51 of BGP’s copyrighted

images on its www.news4sanantonio.com website. The copyrights for 50 of those 51 images are

registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit 49 is a

true and correct copy of a number of web site screen shots evidencing direct infringement of BGP’s




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copyrighted images. The screen shots also evidence false credit in whole or in part to WENN or

WENN.com constituting falsification of copyright management information in violation of 17

U.S.C. § 1202(a).

         345.   Sinclair, WOAI and San Antonio Television, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         346.   Attached hereto as Exhibit 49 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 49, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 49.

         347.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WOAI and San Antonio Television, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

         348.   BGP is entitled to an award of statutory damages against Sinclair, WOAI and San

Antonio Television, LLC of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images




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that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for

example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        349.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WOAI and San Antonio Television, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WOAI and San Antonio Television, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        350.    Upon information and belief, at the time Sinclair, WOAI and San Antonio

Television, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, WOAI and San Antonio Television, LLC became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some

but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 49. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, WOAI and San Antonio Television, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).




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       351.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WOAI and San Antonio

Television, LLC committed at least 52 false credit violations (51 on each of the enlarged images

and once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled

to an award of statutory CMI damages against Sinclair, WOAI and San Antonio Television, LLC

of at least $130,000 and up to $1,300,000.

                                              WPBN

       352.    After November 2, 2015, upon information and belief, Sinclair, WPBN and/or

Chesapeake Media I, LLC reproduced and displayed, without license or permission, at least 51 of

BGP’s copyrighted images on its www.upnorthlive.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 50 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

       353.    Sinclair, WPBN and Chesapeake Media I, LLC are charged with direct and indirect

copyright infringement with respect to those 50 images, which are identified in detail below.

       354.    Attached hereto as Exhibit 50 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed believed to be dated

November 9, 2015. Five of BGP’s copyrighted images are reproduced and displayed on the first

page of Exhibit 50, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51




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photos” link on that page, another page was displayed showing 51 thumbnails corresponding to

Images 1-51. Upon clicking each of those thumbnails, an enlarged view of the corresponding

image was displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit

47.

       355.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WPBN and Chesapeake Media I, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       356.    BGP is entitled to an award of statutory damages against Sinclair, WPBN and

Chesapeake Media I, LLC of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images

that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for

example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       357.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WPBN and Chesapeake Media I, LLC with respect to each of the 50 Registered Images that were

copied. Sinclair, WPBN and Chesapeake Media I, LLC copied all 50 of the Registered Images

twice (once in the thumbnail of 51 images and once in the enlarged views of each thumbnail) and

also copied five of the Registered Images a third time, at the beginning of the article, for a total of

105 copies.




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       358.    Upon information and belief, at the time Sinclair, WPBN and Chesapeake Media I,

LLC initially reproduced and displayed the Registered Images on its above-identified website, it

credited only WENN or WENN.com for the images. Upon information and belief, at some point

thereafter, Sinclair, WPBN and Chesapeake Media I, LLC became aware of Mrs. Gobble’s dispute

with WENN about the images and/or false credit, and changed the credit on some but not all of

the images from just WENN or WENN.com to also include “Brittney Gobble Photography” (e.g.,

“Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for example in the

enlarged versions of the images attached as Exhibit 50. Those enlarged versions also show

continued credit on some of the images to only WENN.com. It was false to credit the images to

WENN.com alone or in combination with Brittney Gobble Photography. Upon information and

belief, Sinclair, WPBN and Chesapeake Media I, LLC provided, distributed and/or imported this

false credit with the intent to induce, enable, facilitate or conceal infringement in violation of 17

U.S.C. § 1202(a).

       359.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WPBN and Chesapeake

Media I, LLC committed at least 52 false credit violations (51 on each of the enlarged images and

once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled to

an award of statutory CMI damages against Sinclair, WPBN and Chesapeake Media I, LLC of at

least $130,000 and up to $1,300,000.

                                              WPDE

       360.    After November 2, 2015, upon information and belief, Sinclair, WPDE and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least




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51 of BGP’s copyrighted images on its www.wpde.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 51 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         361.   Sinclair, WPDE and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         362.   Attached hereto as Exhibit 51 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

51, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 51.

         363.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WPDE and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.




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        364.    BGP is entitled to an award of statutory damages against Sinclair, WPDE and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        365.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WPDE and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WPDE and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        366.    Upon information and belief, at the time Sinclair, WPDE and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WPDE and Sinclair Communications, LLC became aware

of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 51. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                Upon




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information and belief, Sinclair, WPDE and Sinclair Communications, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

         367.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WPDE and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WPDE and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               WSET

         368.   After November 2, 2015, upon information and belief, Sinclair, WSET and/or

Sinclair Television Stations, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.wset.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

52 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).

         369.   Sinclair, WSET and Sinclair Television Stations, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.




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       370.    Attached hereto as Exhibit 52 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

52, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 52.

       371.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WSET and Sinclair Television Stations, LLC is liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       372.    BGP is entitled to an award of statutory damages against Sinclair, WSET and

Sinclair Television Stations, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       373.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WSET and Sinclair Television Stations, LLC with respect to each of the 50 Registered Images that




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were copied. Sinclair, WSET and Sinclair Television Stations, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        374.    Upon information and belief, at the time Sinclair, WSET and Sinclair Television

Stations, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, WSET and Sinclair Television Stations, LLC became aware of

Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 52. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                    Upon

information and belief, Sinclair, WSET and Sinclair Television Stations, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

        375.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WSET and Sinclair

Television Stations, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP




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is entitled to an award of statutory CMI damages against Sinclair, WSET and Sinclair Television

Stations, LLC of at least $130,000 and up to $1,300,000.

                                              WSTQ

         376.   After November 2, 2015, upon information and belief, Sinclair, WSTQ and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.cnycentral.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibit 53 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         377.   Sinclair, WSTQ and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         378.   Attached hereto as Exhibit 53 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

53, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 53.




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        379.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WSTQ and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        380.    BGP is entitled to an award of statutory damages against Sinclair, WSTQ and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        381.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WSTQ and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WSTQ and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        382.    Upon information and belief, at the time Sinclair, WSTQ and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WSTQ and Sinclair Communications, LLC became aware




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of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 53. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, WSTQ and Sinclair Communications, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

       383.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WSTQ and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WSTQ and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               WTOV

       384.    After November 2, 2015, upon information and belief, Sinclair, WTOV and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.wtov9.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 54 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole




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or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         385.   Sinclair, WTOV and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         386.   Attached hereto as Exhibit 54 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

45, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 54.

         387.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WTOV and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

         388.   BGP is entitled to an award of statutory damages against Sinclair, WTOV and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,




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for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        389.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WTOV and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WTOV and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        390.    Upon information and belief, at the time Sinclair, WTOV and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WTOV and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 54. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, WTOV and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).




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         391.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WTOV and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WTOV and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                              WTVC

         392.   After November 2, 2015, upon information and belief, Sinclair, WTVC and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.newschannel9.com website. The copyrights for 50

of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibit 55 is a true and correct copy of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

         393.   Sinclair, WTVC and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         394.   Attached hereto as Exhibit 55 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 9,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit




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45, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 55.

        395.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WTVC and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        396.    BGP is entitled to an award of statutory damages against Sinclair, WTVC and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        397.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WTVC and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WTVC and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.




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       398.    Upon information and belief, at the time Sinclair, WTVC and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WTVC and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 55. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, WTVC and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       399.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WTVC and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WTVC and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               WZTV

       400.    After November 2, 2015, upon information and belief, Sinclair, WZTV and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least




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51 of BGP’s copyrighted images on its www.fox17.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 56 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         401.   Sinclair, WZTV and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         402.   Attached hereto as Exhibit 56 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 56, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 56.

         403.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WZTV and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.




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        404.    BGP is entitled to an award of statutory damages against Sinclair, WZTV and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        405.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WZTV and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WZTV and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        406.    Upon information and belief, at the time WZTV and Sinclair Communications,

LLC initially reproduced and displayed the Registered Images on its above-identified website, it

credited only WENN or WENN.com for the images. Upon information and belief, at some point

thereafter, Sinclair, WZTV and Sinclair Communications, LLC became aware of Mrs. Gobble’s

dispute with WENN about the images and/or false credit, and changed the credit on some but not

all of the images from just WENN or WENN.com to also include “Brittney Gobble Photography”

(e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for example in the

enlarged versions of the images attached as Exhibit 56. Those enlarged versions also show

continued credit on some of the images to only WENN.com. It was false to credit the images to

WENN.com alone or in combination with Brittney Gobble Photography. Upon information and




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belief, Sinclair, WZTV and Sinclair Communications, LLC provided, distributed and/or imported

this false credit with the intent to induce, enable, facilitate or conceal infringement in violation of

17 U.S.C. § 1202(a).

         407.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WZTV and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WZTV and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               KMPH

         408.   After November 2, 2015, upon information and belief, Sinclair, KMPH and/or

Sinclair Television of Fresno, LLC reproduced and displayed, without license or permission, at

least 51 of BGP’s copyrighted images on its www.kmph.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibit 57 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         409.   Sinclair, KMPH and Sinclair Television of Fresno, LLC are charged with direct

and indirect copyright infringement with respect to those 50 images, which are identified in detail

below.




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       410.    Attached hereto as Exhibit 57 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

57, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 57.

       411.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KMPH and Sinclair Television of Fresno, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       412.    BGP is entitled to an award of statutory damages against Sinclair, KMPH and

Sinclair Television of Fresno, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       413.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KMPH and Sinclair Television of Fresno, LLC with respect to each of the 50 Registered Images




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that were copied. Sinclair, KMPH and Sinclair Television of Fresno, LLC copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        414.    Upon information and belief, at the time Sinclair, KMPH and Sinclair Television

of Fresno, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, KMPH and Sinclair Television of Fresno, LLC became aware of

Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 57. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                    Upon

information and belief, Sinclair, KMPH and Sinclair Television of Fresno, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

        415.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KMPH and Sinclair

Television of Fresno, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP




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is entitled to an award of statutory CMI damages against Sinclair, KMPH and Sinclair Television

of Fresno, LLC of at least $130,000 and up to $1,300,000.

                                              KMTR

         416.   After November 2, 2015, upon information and belief, Sinclair, KMTR and/or

Sinclair Television of Oregon, LLC reproduced and displayed, without license or permission, at

least 51 of BGP’s copyrighted images on its www.nbc16.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibits 58 and 59 are true and correct copies of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

         417.   Sinclair, KMTR and Sinclair Television of Oregon, LLC are charged with direct

and indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         418.   Attached hereto as Exhibit 58 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 4,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

58. Upon clicking the “View Photo Gallery, 53 photos” link on that page, another page was

displayed showing 53 thumbnails corresponding to Images 1-51. Upon clicking each of those

thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each of

those 53 enlarged views is included as part of Exhibit 58.




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       419.    Attached hereto as Exhibit 59 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site referenced in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed believed to be dated

November 9, 2015. Five of BGP’s copyrighted images are reproduced and displayed on the first

page of Exhibit 59, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51

photos” link on that page, another page was displayed showing 51 thumbnails corresponding to

Images 1-51. Upon clicking each of those thumbnails, an enlarged view of the corresponding

image was displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit

59.

       420.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Between

the two articles, there are a total of 104 images, 101 of which are Registered Images, i.e., Images

1-25 and 27-51 (Image 26 is not registered). Sinclair, KMTR and Sinclair Television of Oregon,

LLC are liable for direct and indirect copyright infringement with respect to these 101 Registered

Images. BGP is entitled at least to statutory or actual damages for their infringement.

       421.    BGP is entitled to an award of statutory damages against Sinclair, KMTR and

Sinclair Television of Oregon, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.




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       422.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KMTR and Sinclair Television of Oregon, LLC with respect to each of the 50 Registered Images

that were copied. Between the two articles, Sinclair, KMTR and Sinclair Television of Oregon,

LLC copied the Registered Images a total of 212 times (for the November 4 article, 5 on the first

page, 50 on the thumbnails, and 52 enlarged versions, and for the November 10 article, 5 on the

first page, 50 on the thumbnails and 50 enlarged versions).

       423.    Upon information and belief, at the time Sinclair, KMTR and Sinclair Television

of Oregon, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, KMTR and Sinclair Television of Oregon, LLC became aware of

Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibits 58 and 59. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, KMTR and Sinclair Television of Oregon, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       424.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KMTR and Sinclair

Television of Oregon, LLC committed at least 52 false credit violations (51 on each of the enlarged




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images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, KMTR and Sinclair Television

of Oregon, LLC of at least $130,000 and up to $1,300,000.

                                              KPTM

         425.   After November 2, 2015, upon information and belief, Sinclair, KPTM and/or

Sinclair Television of Omaha, LLC reproduced and displayed, without license or permission, at

least 51 of BGP’s copyrighted images on its www.fox42kptm.com website. The copyrights for 50

of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibit 60 is a true and correct copy of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

         426.   Sinclair, KPTM and Sinclair Television of Omaha, LLC are charged with direct

and indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         427.   Attached hereto as Exhibit 60 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

60, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 60.




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        428.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KPTM and Sinclair Television of Omaha, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        429.    BGP is entitled to an award of statutory damages against Sinclair, KPTM and

Sinclair Television of Omaha, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        430.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KPTM and Sinclair Television of Omaha, LLC with respect to each of the 50 Registered Images

that were copied. Sinclair, KPTM and Sinclair Television of Omaha, LLC copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        431.    Upon information and belief, at the time Sinclair, KPTM and Sinclair Television of

Omaha, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, KPTM and Sinclair Television of Omaha, LLC became aware of




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Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 60. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                    Upon

information and belief, Sinclair, KPTM and Sinclair Television of Omaha, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       432.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KPTM and Sinclair

Television of Omaha, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, KPTM and Sinclair Television

of Omaha, LLC of at least $130,000 and up to $1,300,000.

                                       HSH FLINT/WEYI

       433.    After November 2, 2015, upon information and belief, Sinclair, HSH Flint and/or

Chesapeake Media I, LLC reproduced and displayed, without license or permission, at least 51 of

BGP’s copyrighted images on its www.nbc25news.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 61 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole




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or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         434.   Sinclair, HSH Flint and Chesapeake Media I, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         435.   Attached hereto as Exhibit 61 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed dated November 10,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

61, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 61.

         436.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, HSH Flint and Chesapeake Media I, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

         437.   BGP is entitled to an award of statutory damages against Sinclair, HSH Flint and

Chesapeake Media I, LLC of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images

that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for




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example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       438.    Alternatively, BGP is entitled to an award of actual damages against Sinclair, HSH

Flint and Chesapeake Media I, LLC with respect to each of the 50 Registered Images that were

copied. Sinclair, HSH Flint and Chesapeake Media I, LLC copied all 50 of the Registered Images

twice (once in the thumbnail of 51 images and once in the enlarged views of each thumbnail) and

also copied five of the Registered Images a third time, at the beginning of the article, for a total of

105 copies.

       439.    Upon information and belief, at the time Sinclair, HSH Flint and Chesapeake Media

I, LLC initially reproduced and displayed the Registered Images on its above-identified website,

it credited only WENN or WENN.com for the images. Upon information and belief, at some point

thereafter, Sinclair, HSH Flint and Chesapeake Media I, LLC became aware of Mrs. Gobble’s

dispute with WENN about the images and/or false credit, and changed the credit on some but not

all of the images from just WENN or WENN.com to also include “Brittney Gobble Photography”

(e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for example in the

enlarged versions of the images attached as Exhibit 61. Those enlarged versions also show

continued credit on some of the images to only WENN.com. It was false to credit the images to

WENN.com alone or in combination with Brittney Gobble Photography. Upon information and

belief, Sinclair, HSH Flint and Chesapeake Media I, LLC provided, distributed and/or imported

this false credit with the intent to induce, enable, facilitate or conceal infringement in violation of

17 U.S.C. § 1202(a).




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         440.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, HSH Flint and Chesapeake

Media I, LLC committed at least 52 false credit violations (51 on each of the enlarged images and

once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled to

an award of statutory CMI damages against Sinclair, HSH Flint and Chesapeake Media I, LLC of

at least $130,000 and up to $1,300,000.

                                        NEW AGE/WGFL

         441.   After November 2, 2015, upon information and belief, Sinclair, New Age and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.mycbs4.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 62 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         442.   Sinclair, New Age and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         443.   Attached hereto as Exhibit 62 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 62, namely




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Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 62.

        444.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, New Age and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        445.    BGP is entitled to an award of statutory damages against Sinclair, New Age and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        446.    Alternatively, BGP is entitled to an award of actual damages against Sinclair, New

Age and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied.     Sinclair, New Age and Sinclair Communications, LLC copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.




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       447.    Upon information and belief, at the time Sinclair, New Age and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, New Age and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 62. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, New Age and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       448.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, New Age and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, New Age and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                      DEERFIELD/WHAM

       449.    After November 2, 2015, upon information and belief, Sinclair, Deerfield and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least




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51 of BGP’s copyrighted images on its www.13wham.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 63 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         450.   Sinclair, Deerfield and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         451.   Attached hereto as Exhibit 63 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 10, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 63, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 63.

         452.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, Deerfield and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.




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        453.    BGP is entitled to an award of statutory damages against Sinclair, Deerfield and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        454.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Deerfield and Sinclair Communications, LLC with respect to each of the 50 Registered Images

that were copied. Sinclair, Deerfield and Sinclair Communications, LLC copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        455.    Upon information and belief, at the time Sinclair, Deerfield and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, Deerfield and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 63. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.




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Upon information and belief, Sinclair, Deerfield and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

         456.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Deerfield and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, Deerfield and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                           ACC/WJLA

         457.   After November 2, 2015, upon information and belief, Sinclair, ACC and/or

Sinclair Television Stations, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.wjla.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

64 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).

         458.   Sinclair, ACC and Sinclair Television Stations, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.




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       459.   Attached hereto as Exhibit 64 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed believed to be dated

November 9, 2015. Five of BGP’s copyrighted images are reproduced and displayed on the first

page of Exhibit 64, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51

photos” link on that page, another page was displayed showing 51 thumbnails corresponding to

Images 1-51. Upon clicking each of those thumbnails, an enlarged view of the corresponding

image was displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit

64.

       460.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, ACC and Sinclair Television Stations, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       461.   BGP is entitled to an award of statutory damages against Sinclair, ACC and Sinclair

Television Stations, LLC of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images

that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for

example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.




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        462.    Alternatively, BGP is entitled to an award of actual damages against Sinclair, ACC

and Sinclair Television Stations, LLC with respect to each of the 50 Registered Images that were

copied. Sinclair, ACC and Sinclair Television Stations, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        463.    Upon information and belief, at the time Sinclair, ACC and Sinclair Television

Stations, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, ACC and Sinclair Television Stations, LLC became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some

but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 64. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, ACC and Sinclair Television Stations, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

        464.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, ACC and Sinclair Television

Stations, LLC committed at least 52 false credit violations (51 on each of the enlarged images and




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once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled to

an award of statutory CMI damages against Sinclair, ACC and Sinclair Television Stations, LLC

of at least $130,000 and up to $1,300,000.

                                         GOCOM/WRSP

         465.   After November 2, 2015, upon information and belief, Sinclair, Gocom and/or

Sinclair Television of Illinois, LLC reproduced and displayed, without license or permission, at

least 51 of BGP’s copyrighted images on its www.foxillinois.com website. The copyrights for 50

of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibit 65 is a true and correct copy of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

         466.   Sinclair, Gocom and Sinclair Television of Illinois, LLC are charged with direct

and indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         467.   Attached hereto as Exhibit 65 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed believed to be dated November 9,

2015. Five of BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit

65, namely Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on

that page, another page was displayed showing 51 thumbnails corresponding to Images 1-51.

Upon clicking each of those thumbnails, an enlarged view of the corresponding image was

displayed on the screen. Each of those 51 enlarged views is included as part of Exhibit 65.




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        468.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, Gocom and Sinclair Television of Illinois, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        469.    BGP is entitled to an award of statutory damages against Sinclair, Gocom and

Sinclair Television of Illinois, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        470.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Gocom and Sinclair Television of Illinois, LLC with respect to each of the 50 Registered Images

that were copied. Sinclair, Gocom and Sinclair Television of Illinois, LLC copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        471.    Upon information and belief, at the time Sinclair, Gocom and Sinclair Television

of Illinois, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, ACC and Sinclair Television of Illinois, LLC became aware of




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Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 65. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                    Upon

information and belief, Sinclair, Gocom and Sinclair Television of Illinois, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       472.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Gocom and Sinclair

Television of Illinois, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, Gocom and Sinclair Television

of Illinois, LLC of at least $130,000 and up to $1,300,000.

                                               KABB

       473.    After November 2, 2015, upon information and belief, Sinclair, KABB and/or San

Antonio Television, LLC reproduced and displayed, without license or permission, at least 51 of

BGP’s copyrighted images on its www.foxsanantonio.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 66 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole




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or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         474.   Sinclair, KABB and San Antonio Television, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         475.   Attached hereto as Exhibit 66 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 66, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 66.

         476.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KABB and San Antonio Television, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

         477.   BGP is entitled to an award of statutory damages against Sinclair, KABB and San

Antonio Television, LLC of at least $750 for each of the 50 Registered Images that were copied

(i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images

that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for




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example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        478.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KABB and San Antonio Television, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, KABB and San Antonio Television, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        479.    Upon information and belief, at the time Sinclair, KABB and San Antonio

Television, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, KABB and San Antonio Television, LLC became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some

but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 66. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                     Upon

information and belief, Sinclair, KABB and San Antonio Television, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).




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       480.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KABB and San Antonio

Television, LLC committed at least 52 false credit violations (51 on each of the enlarged images

and once beneath the caption for Image 24 at the beginning of the article). As such, BGP is entitled

to an award of statutory CMI damages against Sinclair, KABB and San Antonio Television, LLC

of at least $130,000 and up to $1,300,000.

                                             KOKH

       481.    After November 2, 2015, upon information and belief, Sinclair, KOKH and/or

KOKH, LLC reproduced and displayed, without license or permission, at least 51 of BGP’s

copyrighted images on its www.okcfox.com website. The copyrights for 50 of those 51 images are

registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit 67 is a

true and correct copy of a number of web site screen shots evidencing direct infringement of BGP’s

copyrighted images. The screen shots also evidence false credit in whole or in part to WENN or

WENN.com constituting falsification of copyright management information in violation of 17

U.S.C. § 1202(a).

       482.    Sinclair, KOKH and KOKH, LLC are charged with direct and indirect copyright

infringement with respect to those 50 images, which are identified in detail below.

       483.    Attached hereto as Exhibit 67 is a true and correct copy of a number of screen shots

taken in October 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 10, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 67, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,




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another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 67.

       484.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, KOKH and KOKH, LLC are liable for direct and indirect copyright infringement with

respect to these 50 Registered Images. BGP is entitled at least to statutory or actual damages for

their infringement.

       485.    BGP is entitled to an award of statutory damages against Sinclair, KOKH and

KOKH, LLC of at least $750 for each of the 50 Registered Images that were copied (i.e., at least

$37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that were copied

(i.e., up to $7,500,000) if the infringement is found to be willful based, for example, upon

continued infringement after becoming aware of the alleged infringement and/or continued credit

to WENN.com for the images and failure to properly credit the images only to Brittney Gobble.

       486.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

KOKH and KOKH, LLC with respect to each of the 50 Registered Images that were copied.

Sinclair, KOKH and KOKH, LLC copied all 50 of the Registered Images twice (once in the

thumbnail of 51 images and once in the enlarged views of each thumbnail) and also copied five of

the Registered Images a third time, at the beginning of the article, for a total of 105 copies.

       487.    Upon information and belief, at the time Sinclair, KOKH and KOKH, LLC initially

reproduced and displayed the Registered Images on its above-identified website, it credited only

WENN or WENN.com for the images. Upon information and belief, at some point thereafter,




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Sinclair, KOKH and KOKH, LLC became aware of Mrs. Gobble’s dispute with WENN about the

images and/or false credit, and changed the credit on some but not all of the images from just

WENN or WENN.com to also include “Brittney Gobble Photography” (e.g., “Photo Credit:

Brittney Gobble Photography via WENN.com”) as shown for example in the enlarged versions of

the images attached as Exhibit 67. Those enlarged versions also show continued credit on some

of the images to only WENN.com. It was false to credit the images to WENN.com alone or in

combination with Brittney Gobble Photography. Upon information and belief, Sinclair, KOKH

and KOKH, LLC provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       488.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, KOKH and KOKH, LLC

committed at least 52 false credit violations (51 on each of the enlarged images and once beneath

the caption for Image 24 at the beginning of the article). As such, BGP is entitled to an award of

statutory CMI damages against Sinclair, KOKH and KOKH, LLC of at least $130,000 and up to

$1,300,000.

                                     WBFF/CHESAPEAKE

       489.    After November 2, 2015, upon information and belief, Sinclair, Chesapeake and/or

Sinclair Communiations, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.foxbaltimore.com website. The copyrights for 50 of

those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto

as Exhibit 68 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole




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or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         490.   Sinclair, Chesapeake and Sinclair Communications, LLC are charged with direct

and indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         491.   Attached hereto as Exhibit 68 is a true and correct copy of a number of screen shots

taken in October 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 68, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 68.

         492.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, Chesapeake and Sinclair Communications, LLC are liable for direct and indirect

copyright infringement with respect to these 50 Registered Images. BGP is entitled at least to

statutory or actual damages for their infringement.

         493.   BGP is entitled to an award of statutory damages against Sinclair, Chesapeake and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,




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for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        494.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

Chesapeake and Sinclair Communications, LLC with respect to each of the 50 Registered Images

that were copied. Sinclair, Chesapeake and Sinclair Communications, LLC copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        495.    Upon information and belief, at the time Sinclair, Chesapeake and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, Chesapeake and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 68. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, Chesapeake and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).




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         496.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, Chesapeake and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, Chesapeake and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                             WABM

         497.   After November 2, 2015, upon information and belief, Sinclair, WABM and/or

Sinclair Television Stations, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.abc3340.com website. The copyrights for 50 of those

51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as

Exhibit 69 is a true and correct copy of a number of web site screen shots evidencing direct

infringement of BGP’s copyrighted images. The screen shots also evidence false credit in whole

or in part to WENN or WENN.com constituting falsification of copyright management information

in violation of 17 U.S.C. § 1202(a).

         498.   Sinclair, WABM and Sinclair Television Stations, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         499.   Attached hereto as Exhibit 69 is a true and correct copy of an article dated

November 9, 2015 about the Lykoi cat breed printed from the web site identified in the preceding

paragraph, the first page of which is the beginning of an article about the Lykoi cat breed dated

November 9, 2015. Four of BGP’s copyrighted images are reproduced and displayed on the first




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page of Exhibit 69, namely Images 1, 2, 3 and 24. The article appears to be the same as the other

articles discussed above and shown in the Exhibits discussed above. Efforts to click on the links

and display the thumbnails and individual images as discussed above for the other articles and

Exhibits have been unsuccessful. It is assumed, however, on information and belief, that at some

point in time it would have been possible to capture from the www.abc3340.com website the same

screen shots shown in the Exhibits for the other stations and websites discussed above.

Accordingly, upon information and belief, Sinclair, WABM and Sinclair Television Stations, LLC

are liable for direct and indirect copyright infringement with respect to the same 50 Registered

Images as discussed above for the other stations, and BGP is entitled at least to statutory or actual

damages for their infringement. The following allegations with respect to Sinclair, WABM and

Sinclair Television Stations, LLC are accordingly alleged upon information and belief.

       500.    BGP is entitled to an award of statutory damages against Sinclair, WABM and

Sinclair Television Stations, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

       501.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WABM and Sinclair Television Stations, LLC with respect to each of the 50 Registered Images

that were copied. Sinclair, WABM and Sinclair Television Stations, LLC copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of




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each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        502.    Upon information and belief, at the time Sinclair, WABM and Sinclair Television

Stations, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, WABM and Sinclair Television Stations, LLC became aware of

Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”). It was false

to credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, WABM and Sinclair Television Stations, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

        503.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WABM and Sinclair

Television Stations, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WABM and Sinclair Television

Stations, LLC of at least $130,000 and up to $1,300,000.

                                              WGME

        504.    After November 2, 2015, upon information and belief, Sinclair, WGME and/or

WGME, Inc. reproduced and displayed, without license or permission, at least 51 of BGP’s




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copyrighted images on its www.wgme.com website. The copyrights for 50 of those 51 images are

registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit 70 is a

true and correct copy of a number of web site screen shots evidencing direct infringement of BGP’s

copyrighted images. The screen shots also evidence false credit in whole or in part to WENN or

WENN.com constituting falsification of copyright management information in violation of 17

U.S.C. § 1202(a).

       505.    Sinclair, WGME and WGME, Inc. are charged with direct and indirect copyright

infringement with respect to those 50 images, which are identified in detail below.

       506.    Attached hereto as Exhibit 70 is a true and correct copy of a number of screen shots

taken in October 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 70, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 70.

       507.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WGME and WGME, Inc. are liable for direct and indirect copyright infringement with

respect to these 50 Registered Images. BGP is entitled at least to statutory or actual damages for

their infringement.




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       508.    BGP is entitled to an award of statutory damages against Sinclair, WGME and

WGME, Inc. of at least $750 for each of the 50 Registered Images that were copied (i.e., at least

$37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that were copied

(i.e., up to $7,500,000) if the infringement is found to be willful based, for example, upon

continued infringement after becoming aware of the alleged infringement and/or continued credit

to WENN.com for the images and failure to properly credit the images only to Brittney Gobble.

       509.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WGME and WGME, Inc. with respect to each of the 50 Registered Images that were copied.

Sinclair, WGME and WGME, Inc. copied all 50 of the Registered Images twice (once in the

thumbnail of 51 images and once in the enlarged views of each thumbnail) and also copied five of

the Registered Images a third time, at the beginning of the article, for a total of 105 copies.

       510.    Upon information and belief, at the time Sinclair, WGME and WGME, Inc. initially

reproduced and displayed the Registered Images on its above-identified website, it credited only

WENN or WENN.com for the images. Upon information and belief, at some point thereafter,

Sinclair, WGME and WGME, Inc. became aware of Mrs. Gobble’s dispute with WENN about the

images and/or false credit, and changed the credit on some but not all of the images from just

WENN or WENN.com to also include “Brittney Gobble Photography” (e.g., “Photo Credit:

Brittney Gobble Photography via WENN.com”) as shown for example in the enlarged versions of

the images attached as Exhibit 70. Those enlarged versions also show continued credit on some

of the images to only WENN.com. It was false to credit the images to WENN.com alone or in

combination with Brittney Gobble Photography. Upon information and belief, Sinclair, WGME

and WGME, Inc. provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).




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         511.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WGME and WGME, Inc.

committed at least 52 false credit violations (51 on each of the enlarged images and once beneath

the caption for Image 24 at the beginning of the article). As such, BGP is entitled to an award of

statutory CMI damages against Sinclair, WGME and WGME, Inc. of at least $130,000 and up to

$1,300,000.

                                               WICS

         512.   After November 2, 2015, upon information and belief, Sinclair, WICS and/or

Sinclair Television of Illinois, LLC reproduced and displayed, without license or permission, at

least 51 of BGP’s copyrighted images on its www.newschannel20.com website. The copyrights

for 50 of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations.

Attached hereto as Exhibit 71 is a true and correct copy of a number of web site screen shots

evidencing direct infringement of BGP’s copyrighted images. The screen shots also evidence false

credit in whole or in part to WENN or WENN.com constituting falsification of copyright

management information in violation of 17 U.S.C. § 1202(a).

         513.   Sinclair, WICS and Sinclair Television of Illinois, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         514.   Attached hereto as Exhibit 71 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 71, namely




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Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 71.

        515.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WICS and Sinclair Television of Illinois, LLC are liable for direct copyright infringement

with respect to these 50 Registered Images. BGP is entitled at least to statutory or actual damages

for their infringement.

        516.    BGP is entitled to an award of statutory damages against Sinclair, WICS and

Sinclair Television of Illinois, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        517.    Alternatively, BGP is entitled to an award of actual damages against Sinclair, WICS

and Sinclair Television of Illinois, LLC with respect to each of the 50 Registered Images that were

copied. Sinclair, WICS and Sinclair Television of Illinois, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.




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       518.    Upon information and belief, at the time Sinclair, WICS and Sinclair Television of

Illinois, LLC initially reproduced and displayed the Registered Images on its above-identified

website, it credited only WENN or WENN.com for the images. Upon information and belief, at

some point thereafter, Sinclair, WICS and Sinclair Television of Illinois, LLC became aware of

Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 71. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                    Upon

information and belief, Sinclair, WICS and Sinclair Television of Illinois, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       519.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WICS and Sinclair

Television of Illinois, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WICS and Sinclair Television

of Illinois, LLC of at least $130,000 and up to $1,300,000.

                                               WPFO

       520.    After November 2, 2015, upon information and belief, Sinclair, WPFO and/or

WGME, Inc. reproduced and displayed, without license or permission, at least 51 of BGP’s




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copyrighted images on its www.fox23maine.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

72 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).

       521.    Sinclair, WPFO and WGME, Inc. are charged with direct and indirect copyright

infringement with respect to those 50 images, which are identified in detail below.

       522.    Attached hereto as Exhibit 72 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 9, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 72, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 72.

       523.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WPFO and WGME, Inc. are liable for direct and indirect copyright infringement with

respect to these 50 Registered Images. BGP is entitled at least to statutory or actual damages for

their infringement.




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       524.    BGP is entitled to an award of statutory damages against Sinclair, WPFO and

WGME, Inc. of at least $750 for each of the 50 Registered Images that were copied (i.e., at least

$37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that were copied

(i.e., up to $7,500,000) if the infringement is found to be willful based, for example, upon

continued infringement after becoming aware of the alleged infringement and/or continued credit

to WENN.com for the images and failure to properly credit the images only to Brittney Gobble.

       525.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WPFO and WGME, Inc. with respect to each of the 50 Registered Images that were copied.

Sinclair, WPFO and WGME, Inc. copied all 50 of the Registered Images twice (once in the

thumbnail of 51 images and once in the enlarged views of each thumbnail) and also copied five of

the Registered Images a third time, at the beginning of the article, for a total of 105 copies.

       526.    Upon information and belief, at the time Sinclair, WPFO and WGME, Inc. initially

reproduced and displayed the Registered Images on its above-identified website, it credited only

WENN or WENN.com for the images. Upon information and belief, at some point thereafter,

Sinclair, WPFO and WGME, Inc. became aware of Mrs. Gobble’s dispute with WENN about the

images and/or false credit, and changed the credit on some but not all of the images from just

WENN or WENN.com to also include “Brittney Gobble Photography” (e.g., “Photo Credit:

Brittney Gobble Photography via WENN.com”) as shown for example in the enlarged versions of

the images attached as Exhibit 72. Those enlarged versions also show continued credit on some

of the images to only WENN.com. It was false to credit the images to WENN.com alone or in

combination with Brittney Gobble Photography. Upon information and belief, Sinclair, WPFO

and WGME, Inc. provided, distributed and/or imported this false credit with the intent to induce,

enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).




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         527.   BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WPFO and WGME, Inc.

committed at least 52 false credit violations (51 on each of the enlarged images and once beneath

the caption for Image 24 at the beginning of the article). As such, BGP is entitled to an award of

statutory CMI damages against Sinclair, WPFO and WGME, Inc. of at least $130,000 and up to

$1,300,000.

                                              WSYX

         528.   After November 2, 2015, upon information and belief, Sinclair, WSYX and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.abc6onyourside.com website. The copyrights for 50

of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibit 73 is a true and correct copy of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

         529.   Sinclair, WSYX and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         530.   Attached hereto as Exhibit 73 is a true and correct copy of a number of screen shots

taken in November 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 10, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 73, namely




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Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 73.

        531.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WSYX and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

        532.    BGP is entitled to an award of statutory damages against Sinclair, WSYX and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        533.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WSYX and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WSYX and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.




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       534.    Upon information and belief, at the time Sinclair, WSYX and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WSYX and Sinclair Communications, LLC became

aware of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the

credit on some but not all of the images from just WENN or WENN.com to also include “Brittney

Gobble Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as

shown for example in the enlarged versions of the images attached as Exhibit 73. Those enlarged

versions also show continued credit on some of the images to only WENN.com. It was false to

credit the images to WENN.com alone or in combination with Brittney Gobble Photography.

Upon information and belief, Sinclair, WSYX and Sinclair Communications, LLC provided,

distributed and/or imported this false credit with the intent to induce, enable, facilitate or conceal

infringement in violation of 17 U.S.C. § 1202(a).

       535.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WSYX and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WSYX and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               WTTE

       536.    After November 2, 2015, upon information and belief, Sinclair, WTTE and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least




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51 of BGP’s copyrighted images on its www.myfox28columbus.com website. The copyrights for

50 of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibit 74 is a true and correct copy of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

         537.   Sinclair, WTTE and Sinclair Communications, LLC are charged with direct and

indirect copyright infringement with respect to those 50 images, which are identified in detail

below.

         538.   Attached hereto as Exhibit 74 is a true and correct copy of a number of screen shots

taken in October 2017 from the web site identified in the preceding paragraph, the first page of

which is the beginning of an article about the Lykoi cat breed dated November 10, 2015. Five of

BGP’s copyrighted images are reproduced and displayed on the first page of Exhibit 74, namely

Images 1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page,

another page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking

each of those thumbnails, an enlarged view of the corresponding image was displayed on the

screen. Each of those 51 enlarged views is included as part of Exhibit 74.

         539.   The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair, WTTE and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.




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        540.    BGP is entitled to an award of statutory damages against Sinclair, WTTE and

Sinclair Communications, LLC of at least $750 for each of the 50 Registered Images that were

copied (i.e., at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered

Images that were copied (i.e., up to $7,500,000) if the infringement is found to be willful based,

for example, upon continued infringement after becoming aware of the alleged infringement and/or

continued credit to WENN.com for the images and failure to properly credit the images only to

Brittney Gobble.

        541.    Alternatively, BGP is entitled to an award of actual damages against Sinclair,

WTTE and Sinclair Communications, LLC with respect to each of the 50 Registered Images that

were copied. Sinclair, WTTE and Sinclair Communications, LLC copied all 50 of the Registered

Images twice (once in the thumbnail of 51 images and once in the enlarged views of each

thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        542.    Upon information and belief, at the time Sinclair, WTTE and Sinclair

Communications, LLC initially reproduced and displayed the Registered Images on its above-

identified website, it credited only WENN or WENN.com for the images. Upon information and

belief, at some point thereafter, Sinclair, WTTE and Sinclair Communications, LLC became aware

of Mrs. Gobble’s dispute with WENN about the images and/or false credit, and changed the credit

on some but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 74. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                Upon




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information and belief, Sinclair, WTTE and Sinclair Communications, LLC provided, distributed

and/or imported this false credit with the intent to induce, enable, facilitate or conceal infringement

in violation of 17 U.S.C. § 1202(a).

       543.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair, WTTE and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair, WTTE and Sinclair

Communications, LLC of at least $130,000 and up to $1,300,000.

                                               KMEG

       544.    After November 2, 2015, upon information and belief, Sinclair, Waitt and/or

Sinclair Communications, LLC reproduced and displayed, without license or permission, at least

51 of BGP’s copyrighted images on its www.siouxlandnews.com website. The copyrights for 50

of those 51 images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached

hereto as Exhibit 75 is a true and correct copy of a number of web site screen shots evidencing

direct infringement of BGP’s copyrighted images. The screen shots also evidence false credit in

whole or in part to WENN or WENN.com constituting falsification of copyright management

information in violation of 17 U.S.C. § 1202(a).

       545.    Sinclair and Sinclair Communications, LLC are charged with direct and indirect

copyright infringement with respect to those 50 images, which are identified in detail below.

       546.    Attached hereto as Exhibit 75 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the




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first page of which is the beginning of an article about the Lykoi cat breed. Five of BGP’s

copyrighted images are reproduced and displayed on the first page of Exhibit 75, namely Images

1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page, another

page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking each of

those thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each

of those 51 enlarged views is included as part of Exhibit 75.

       547.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair and Sinclair Communications, LLC are liable for direct and indirect copyright

infringement with respect to these 50 Registered Images. BGP is entitled at least to statutory or

actual damages for their infringement.

       548.    BGP is entitled to an award of statutory damages against Sinclair and Sinclair

Communications, LLC of at least $750 for each of the 50 Registered Images that were copied (i.e.,

at least $37,500), and up to a maximum of $150,000 for each of the 50 Registered Images that

were copied (i.e., up to $7,500,000) if the infringement is found to be willful based, for example,

upon continued infringement after becoming aware of the alleged infringement and/or continued

credit to WENN.com for the images and failure to properly credit the images only to Brittney

Gobble.

       549.    Alternatively, BGP is entitled to an award of actual damages against Sinclair and

Sinclair Communications, LLC with respect to each of the 50 Registered Images that were copied.

Sinclair and Sinclair Communications, LLC copied all 50 of the Registered Images twice (once in




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the thumbnail of 51 images and once in the enlarged views of each thumbnail) and also copied five

of the Registered Images a third time, at the beginning of the article, for a total of 105 copies.

       550.    Upon information and belief, at the time Sinclair and Sinclair Communications,

LLC initially reproduced and displayed the Registered Images on its above-identified website, it

credited only WENN or WENN.com for the images. Upon information and belief, at some point

thereafter, Sinclair and Sinclair Communications, LLC became aware of Mrs. Gobble’s dispute

with WENN about the images and/or false credit, and changed the credit on some but not all of

the images from just WENN or WENN.com to also include “Brittney Gobble Photography” (e.g.,

“Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for example in the

enlarged versions of the images attached as Exhibit 75. Those enlarged versions also show

continued credit on some of the images to only WENN.com. It was false to credit the images to

WENN.com alone or in combination with Brittney Gobble Photography. Upon information and

belief, Sinclair and Sinclair Communications, LLC provided, distributed and/or imported this false

credit with the intent to induce, enable, facilitate or conceal infringement in violation of 17 U.S.C.

§ 1202(a).

       551.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B).                  Sinclair and Sinclair

Communications, LLC committed at least 52 false credit violations (51 on each of the enlarged

images and once beneath the caption for Image 24 at the beginning of the article). As such, BGP

is entitled to an award of statutory CMI damages against Sinclair and Sinclair Communications,

LLC of at least $130,000 and up to $1,300,000.




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                                              KPIC

       552.    After November 2, 2015, upon information and belief, Sinclair and/or South West

reproduced and displayed, without license or permission, at least 51 of BGP’s copyrighted images

on its www.kpic.com website. The copyrights for 50 of those 51 images are registered under the

‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibits 76 and 77 are true and correct

copies of a number of web site screen shots evidencing direct infringement of BGP’s copyrighted

images. The screen shots also evidence false credit in whole or in part to WENN or WENN.com

constituting falsification of copyright management information in violation of 17 U.S.C. § 1202(a).

       553.    Sinclair is charged with direct and indirect copyright infringement with respect to

those 50 images, which are identified in detail below.

       554.    Attached hereto as Exhibit 76 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed. Five of BGP’s

copyrighted images are reproduced and displayed on the first page of Exhibit 76. Upon clicking

the “View Photo Gallery, 51 photos” link on that page, another page was displayed showing 53

thumbnails corresponding to Images 1-51. Upon clicking each of those thumbnails, an enlarged

view of the corresponding image was displayed on the screen. Each of those enlarged views is

included as part of Exhibit 76.

       555.    Attached hereto as Exhibit 77 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed. Five of BGP’s

copyrighted images are reproduced and displayed on the first page of Exhibit 75, namely Images

1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page, another




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page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking each of

those thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each

of those 51 enlarged views is included as part of Exhibit 77.

        556.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair is liable for direct and indirect copyright infringement with respect to these 50 Registered

Images. BGP is entitled at least to statutory or actual damages for their infringement.

        557.    BGP is entitled to an award of statutory damages against Sinclair of at least $750

for each of the 50 Registered Images that were copied (i.e., at least $37,500), and up to a maximum

of $150,000 for each of the 50 Registered Images that were copied (i.e., up to $7,500,000) if the

infringement is found to be willful based, for example, upon continued infringement after

becoming aware of the alleged infringement and/or continued credit to WENN.com for the images

and failure to properly credit the images only to Brittney Gobble.

        558.    Alternatively, BGP is entitled to an award of actual damages against Sinclair with

respect to each of the 50 Registered Images that were copied. Sinclair copied all 50 of the

Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        559.    Upon information and belief, at the time Sinclair initially reproduced and displayed

the Registered Images on its above-identified website, it credited only WENN or WENN.com for

the images. Upon information and belief, at some point thereafter, Sinclair became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some




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but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 77. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                  Upon

information and belief, Sinclair provided, distributed and/or imported this false credit with the

intent to induce, enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       560.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair committed at least 52 false

credit violations (51 on each of the enlarged images and once beneath the caption for Image 24 at

the beginning of the article). As such, BGP is entitled to an award of statutory CMI damages

against Sinclair of at least $130,000 and up to $1,300,000.

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       561.    After November 2, 2015, upon information and belief, Sinclair, WMMP and/or

Sinclair Properties, LLC reproduced and displayed, without license or permission, at least 51 of

BGP’s copyrighted images on its www.abcnews4.com website. The copyrights for 50 of those 51

images are registered under the ‘214, ‘108, ‘115 and ‘117 Registrations. Attached hereto as Exhibit

78 is a true and correct copy of a number of web site screen shots evidencing direct infringement

of BGP’s copyrighted images. The screen shots also evidence false credit in whole or in part to

WENN or WENN.com constituting falsification of copyright management information in

violation of 17 U.S.C. § 1202(a).




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       562.    Sinclair is charged with direct and indirect copyright infringement with respect to

those 50 images, which are identified in detail below.

       563.    Attached hereto as Exhibit 78 is a true and correct copy of a number of screen shots

taken in October and November 2017 from the web site identified in the preceding paragraph, the

first page of which is the beginning of an article about the Lykoi cat breed. Five of BGP’s

copyrighted images are reproduced and displayed on the first page of Exhibit 78, namely Images

1, 2, 3, 4 and 24. Upon clicking the “View Photo Gallery, 51 photos” link on that page, another

page was displayed showing 51 thumbnails corresponding to Images 1-51. Upon clicking each of

those thumbnails, an enlarged view of the corresponding image was displayed on the screen. Each

of those 51 enlarged views is included as part of Exhibit 78.

       564.    The enlarged views are copies of Images 1-51, with the understanding that the

versions of Images 7, 13, 14, 15, 21, 22 and 34 are edited versions as explained above. Fifty of

the 51 images are Registered Images, i.e., Images 1-25 and 27-51 (Image 26 is not registered).

Sinclair is liable for direct and indirect copyright infringement with respect to these 50 Registered

Images. BGP is entitled at least to statutory or actual damages for their infringement.

       565.    BGP is entitled to an award of statutory damages against Sinclair of at least $750

for each of the 50 Registered Images that were copied (i.e., at least $37,500), and up to a maximum

of $150,000 for each of the 50 Registered Images that were copied (i.e., up to $7,500,000) if the

infringement is found to be willful based, for example, upon continued infringement after

becoming aware of the alleged infringement and/or continued credit to WENN.com for the images

and failure to properly credit the images only to Brittney Gobble.

       566.    Alternatively, BGP is entitled to an award of actual damages against Sinclair with

respect to each of the 50 Registered Images that were copied. Sinclair copied all 50 of the




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Registered Images twice (once in the thumbnail of 51 images and once in the enlarged views of

each thumbnail) and also copied five of the Registered Images a third time, at the beginning of the

article, for a total of 105 copies.

        567.    Upon information and belief, at the time Sinclair initially reproduced and displayed

the Registered Images on its above-identified website, it credited only WENN or WENN.com for

the images. Upon information and belief, at some point thereafter, Sinclair became aware of Mrs.

Gobble’s dispute with WENN about the images and/or false credit, and changed the credit on some

but not all of the images from just WENN or WENN.com to also include “Brittney Gobble

Photography” (e.g., “Photo Credit: Brittney Gobble Photography via WENN.com”) as shown for

example in the enlarged versions of the images attached as Exhibit 78. Those enlarged versions

also show continued credit on some of the images to only WENN.com. It was false to credit the

images to WENN.com alone or in combination with Brittney Gobble Photography.                  Upon

information and belief, Sinclair provided, distributed and/or imported this false credit with the

intent to induce, enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

        568.    BGP is entitled to an award of statutory damages of at least $2,500 and up to

$25,000 for each instance of the falsification of copyright management information (i.e., false

credit of the images) pursuant to 17 U.S.C. § 1203(c)(3)(B). Sinclair committed at least 52 false

credit violations (51 on each of the enlarged images and once beneath the caption for Image 24 at

the beginning of the article). As such, BGP is entitled to an award of statutory CMI damages

against Sinclair of at least $130,000 and up to $1,300,000.

                                      ADDITIONAL ALLEGATIONS

        569.    The images that Sinclair and/or the Sinclair Stations reproduced and displayed on

their websites as described above were reproduced and displayed within the United States without




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authority or permission from Mrs. Gobble or BGP. Sinclair and/or each Sinclair Station committed

numerous acts of infringement of the copyrights owned by BGP within the United States, and

numerous DMCA violations by falsely crediting WENN or WENN.com in whole or in part for the

images.

       570.    Each of the articles, thumbnails, and images attached hereto, including the false

credit to WENN or WENN.com for the images, was accessible from computers within the United

States and was viewed, reproduced and displayed by viewers of, and provided to viewers of,

Defendants’ websites within the United States.

       571.    As Sinclair’s infringing conduct began after November 2, 2015, this Complaint was

filed within the three-year statute of limitations period pursuant to 17 U.S.C. § 507(b).

       572.    Neither Mrs. Gobble nor BGP authorized Sinclair or any of the Sinclair Stations to

reproduce or display any of the images at issue in this lawsuit.

       573.    Upon information and belief, Sinclair was the owner and/or operator of each of the

above-identified websites for at least part of the time during which the infringing images were

displayed on such websites. Sinclair is at least liable for direct copyright infringement during such

time as Sinclair was the owner and/or operator of such websites.

                                          COUNT I
                              DIRECT COPYRIGHT INFRINGEMENT
                                  [17 U.S.C. §§ 501 et seq.]
                                 AGAINST ALL DEFENDANTS

       574.    BGP repeats, realleges and incorporates herein by reference as though fully set forth

herein, the allegations contained in the preceding paragraphs of this Complaint.

       575.    Each Defendant operates in an industry where copyright is prevalent, including

with respect to content displayed on the above-listed websites and other content broadcast over the

airwaves pursuant to FCC licenses used by the Sinclair Stations, such as radio and/or television



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programming and news content. Upon information and belief, each Defendant has experience in

handling copyright ownership in connection with its business.

       576.    Each Defendant had access to all 55 of Plaintiff’s images at issue herein directly or

indirectly from WENN.

       577.    Each Defendant reproduced, displayed and unlawfully copied at least 50 of the

Registered Images, including but not limited to as evidenced by the attached Exhibits, and did so

without authority, license or permission from Mrs. Gobble or BGP.

       578.    The images that each Defendant reproduced, displayed and unlawfully copied,

including on the above-liseted websites, are identical, virtually identical, strikingly similar or

substantially similar to the Registered Images.

       579.    None of the Defendants compensated BGP or Mrs. Gobble for its reproduction,

display and unlawful copying of the Registered Images.

       580.    Without authorization, each Defendant reproduced, displayed and unlawfully

copied at least 50 of Plaintiff’s Registered Images and thereby directly infringed the ‘108, ‘214,

‘115 and ‘117 Registrations and violated 17 U.S.C. § 501.

       581.    Each Defendant’s conduct violated exclusive rights owned by BGP, including at

least the exclusive rights to reproduce and display under 17 U.S.C. § 106.

       582.    By virtue of Defendants’ wrongful acts complained of herein, each Defendant

infringed at least BGP’s right to authorize the reproduction and display of the Registered Images

that were wrongfully distributed by WENN.

       583.    As a direct and proximate result of its wrongful conduct, each Defendant realized

benefits rightfully belonging to BGP related to the Registered Images. BGP is entitled to an award




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of actual damages and profits against each Defendant, plus attorneys’ fees and costs, pursuant to

17 U.S.C. §§ 504(b) and 505.

         584.   In the alternative, BGP is entitled to statutory damages against each Defendant for

its wrongful conduct, plus attorneys’ fees and costs, pursuant to 17 U.S.C. §§ 504(c)(1) and 505.

         585.   Since each Defendant’s acts of infringement of the copyrights in each of the

Registered Images were willful and deliberate after notice of Mrs. Gobble’s rights, BGP is entitled

to the recovery of maximum statutory damages against each Defendant, plus attorneys’ fees and

costs, pursuant to 17 U.S.C. §§ 504(c)(2) and 505.

         586.   As a consequence of the infringement complained of herein, BGP has been

irreparably damaged to an extent not yet determined and will continue to be irreparably damaged

by such acts in the future unless each Defendant is enjoined by this Court from committing further

acts of infringement, for which BGP has no adequate remedy at law.

                                         COUNT II
                          CONTRIBUTORY COPYRIGHT INFRINGEMENT
                                  [17 U.S.C. §§ 501 et seq.]
                                 ONLY AGAINST SINCLAIR

         587.   BGP repeats, realleges and incorporates herein by reference as though fully set forth

herein, the allegations contained in the preceding paragraphs of this Complaint.

         588.   Each of the Sinclair Stations and viewers of the copyrighted images on the Sinclair

Stations’ respective web sites, including through social media applications, directly infringed the

‘108, ‘214, ‘115 and/or ‘117 Registrations and the copyrights in the Registered Images, when they

reproduced and displayed the copyrighted images corresponding to the Registered Images.

         589.   Sinclair learned of BGP’s allegations of copyright infringement and DMCA false

credit violations with respect to the copyrighted images displayed on the Sinclair Stations’ web

sites.



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       590.    Sinclair could have requested or instructed that one or all of the Sinclair Stations

remove the Lykoi cat images from their respective websites. Sinclair could have removed the

images from each of the above-listed websites.

       591.    Upon information and belief, if Sinclair had so requested or instructed any of the

Sinclair Stations to remove the Lykoi cat images from their respective websites, each such Sinclair

Station would have promptly removed the images.

       592.    Upon information and belief, despite Sinclair’s knowledge of BGP’s allegations of

copyright infringement and DMCA false credit allegations, Sinclair took no action to cause the

Lykoi cat images to be removed from the Sinclair Stations’ web sites. Instead, Sinclair induced,

caused, participated in, aided and abetted or materially contributed to the infringing conduct of

such persons and/or entities, including by permitting such infringement to continue after Sinclair

became aware of the infringement. Accordingly, Sinclair is liable as a contributory infringer for

the acts of direct copyright infringement committed by all such persons and/or entities, as alleged

hereinabove.

       593.    As a direct and proximate result of Sinclair’s acts of contributory copyright

infringement, Sinclair has realized benefits rightfully belonging to BGP related to the Registered

Images. Accordingly, BGP is entitled to an award of actual damages and profits against Sinclair

with respect to each instance of direct copyright infringement to which Sinclair contributed, plus

attorneys’ fees and costs, pursuant to 17 U.S.C. §§ 504(b) and 505.

       594.    In the alternative, BGP is entitled to an award of statutory damages against Sinclair

for its acts of contributory copyright infringement, plus attorneys’ fees and costs, pursuant to 17

U.S.C. §§ 504(c)(1) and 505.




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         595.   Since Sinclair’s acts of contributory copyright infringement with respect to each of

the Registered Images were willful and deliberate, and performed and permitted with knowledge

of the infringement, BGP is entitled to the recovery of maximum statutory damages against

Sinclair, plus attorneys’ fees and costs, pursuant to 17 U.S.C. §§ 504(c)(2) and 505.

         596.   As a consequence of the contributory infringement complained of herein, BGP has

been irreparably damaged to an extent not yet determined and will continue to be irreparably

damaged by such acts in the future unless Sinclair is enjoined by this Court from committing

further acts of contributory copyright infringement, for which BGP has no adequate remedy at law.

                                         COUNT III
                           VICARIOUS COPYRIGHT INFRINGEMENT
                                  [17 U.S.C. §§ 501 et seq.]
                     AGAINST ALL DEFENDANTS EXCEPT GRAY TELEVISION

         597.   BGP repeats, realleges and incorporates herein by reference as though fully set forth

herein, the allegations contained in the preceding paragraphs of this Complaint.

         598.   Sinclair is in the business of earning money from revenues generated by radio and

television stations around the United States, such as the Sinclair Stations identified above. The

Sinclair Stations are in the business of earning money from revenues generated in connection with

or deriving benefits related to one or more of the websites and corresponding stations listed above.

         599.   One way Sinclair’s radio and television stations generate revenue is through the

sale of advertising on such stations’ websites, examples of which include the websites identified

above.

         600.   At all material times hereto, upon information and belief, Defendants had the right

and practical ability to supervise, control, limit, and stop the infringing conduct on the above-

identified websites of its radio and television stations, and yet, Defendants declined to do so.




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       601.    As a direct and proximate result of Defendants’ refusal to exercise its right and

ability to promptly stop or limit the infringing conduct, Defendants have continued to infringe

BGP’s copyrighted images, which, in turn, has generated revenues and direct financial benefits for

Defendants, including through traffic to the stations’ websites and advertising revenues generated

through such websites.

       602.    Upon information and belief, Defendants further enjoyed a direct financial benefit

from the way its stations used the draw and appeal of BGP’s copyrighted Lykoi cat images to

generate user traffic to their web sites, thereby generating advertising revenue, viewer base for the

station, brand awareness and partnership opportunities.

       603.    By virtue of Defendants’ wrongful acts complained of herein, Defendants are liable

for vicarious copyright infringement, especially in light of the benefits Defendants realized while

declining to exercise its right to stop or limit the infringement.

       604.    As a direct and proximate result of its wrongful conduct, Defendants realized

benefits rightfully belonging to BGP related to the Registered Images. BGP is entitled to an award

of actual damages against Defendants, plus attorneys’ fees and costs, pursuant to 17 U.S.C. §§

504(b) and 505.

       605.    In the alternative, BGP is entitled to statutory damages against Defendants for their

wrongful conduct, plus attorneys’ fees and costs, pursuant to 17 U.S.C. §§ 504(c)(1) and 505.

       606.    Since Defendants’ acts of vicarious infringement of the copyrights in the Registered

Images were willful and deliberate after notice of Mrs. Gobble’s rights and the infringement and

false credit, BGP is entitled to the recovery of maximum statutory damages against Defendants

plus attorneys’ fees and costs, pursuant to 17 U.S.C. §§ 504(c)(2) and 505.




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       607.    As a consequence of the infringement complained of herein, BGP has been

irreparably damaged to an extent not yet determined and will continue to be irreparably damaged

by such acts in the future unless Defendants are enjoined by this Court from committing further

acts of infringement, for which BGP has no adequate remedy at law.

                                       COUNT IV
                     DIRECT, INDUCED AND/OR JOINT FALSIFICATION OF
                         COPYRIGHT MANAGEMENT INFORMATION
                                  [17 U.S.C. § 1202(a)]
                     AGAINST ALL DEFENDANTS EXCEPT SINCLAIR RADIO
                          AND SINCLAIR RADIO OF SEATTLE, LLC

       608.    BGP repeats, realleges and incorporates herein by reference as though fully set forth

herein, the allegations contained in the preceding paragraphs of this Complaint.

       609.    Brittney Gobble is the original creator and author of the above-identified 55 images.

       610.    As a significant portion of each Defendant’s business revolves around photographs,

news and video content, and other copyrightable material, each Defendant is well versed in the

importance of copyrights in photographs and in the meaning and importance regarding who should

be given credit with respect to images or other copyrightable subject matter.

       611.    Upon information and belief, pursuant to an agreement between Sinclair and

WENN, Sinclair facilitated the delivery of BGP’s copyrighted Lykoi images from WENN to the

Sinclair Stations where they were reproduced and were also displayed on the Sinclair Stations’

websites as alleged above.     Upon information and belief, Sinclair also participated in the

reproduction and display of the infringing Lykoi images on the above-listed websites, including

who was credited on the websites for such images, at least during the time Sinclair was the owner

and/or operator of the websites.

       612.    Upon information and belief, Defendants later learned of a dispute about

infringement of the copyrights for the Lykoi images and also about improper credit having been



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given for the Lykoi images on the Sinclair Stations’ websites discussed above. More specifically,

upon information and belief, Defendants learned that the Lykoi images were being falsely credited

on one or more of the Sinclair Stations websites to WENN or WENN.com instead of being

properly credited only to Brittney Gobble. Upon information and belief, despite learning this

information, Defendants failed to take the necessary action to correct the false credit and properly

credit only Brittney Gobble for the Lykoi images on the above-identified websites.

       613.    The credit given for the copyrighted images as “WENN,” “WENN.com” and/or

“Brittney Gobble Photography via WENN.com” as shown on the website screen shots attached

hereto is “copyright management information” as that phrase is defined in 17 U.S.C. § 1202(c).

       614.    The credit given for the copyrighted images as “WENN” or “WENN.com” is false.

       615.    The credit given for the copyrighted images as “Brittney Gobble Photography via

WENN.com” is false.

       616.    Sinclair could have requested or instructed that one or all of the Sinclair Stations

correct the false credit for the Lykoi images improperly given to WENN or WENN.com, and credit

only Brittney Gobble for the images. Sinclair could have corrected the false credit itself, and given

credit for the images only to Brittney Gobble, at least during the time it was the owner and/or

operator of the above-listed websites. The Sinclair Stations could have corrected the fase credit

themselves with respect to their own website(s).

       617.    Upon information and belief, if Sinclair had so requested or instructed any of the

Sinclair Stations to correct the false credit for the Lykoi images improperly given to WENN or

WENN.com, and credit only Brittney Gobble for the images, each such Sinclair Station would

have promptly complied.




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       618.    Upon information and belief, despite Defendants’ knowledge of BGP’s allegations

of copyright infringement and DMCA false credit allegations, Defendants took no action to cause

the false credit to be corrected. Instead, Defendants induced, caused, participated in, aided and

abetted or materially contributed to the DMCA false credit violations on the Sinclair Stations’

websites, including by permitting such DMCA violations to continue after Defendants became

aware of the copyright infringement and false credit violations.

       619.    Upon information and belief, each Defendant, alone and/or in active concert with

the Sinclair Stations, knowingly permitted and facilitated the continued provision of false

copyright management information in violation of 17 U.S.C. § 1202(a), and did so with the intent

to induce, enable, facilitate or conceal infringement in violation of 17 U.S.C. § 1202(a).

       620.    Defendants’ acts in violation of 17 U.S.C. § 1202(a) have caused damage to BGP,

and BGP is entitled to recover from Defendants its actual damages and Defendants’ profits or

statutory damages, plus attorneys’ fees and costs, as provided by 17 U.S.C. § 1203(b).

       621.    BGP is entitled to recover an award of statutory damages for the numerous

violations of 17 U.S.C. § 1202(a), including but not limited to those evidenced by the attached

Exhibits, in a sum of not less than $2,500 or more than $25,000 per violation pursuant to 17 U.S.C.

§ 1203(c)(3)(B), plus attorneys’ fees and costs, as provided by 17 U.S.C. § 1203(b).

                                      PRAYER FOR RELIEF

       WHEREFORE, BGP prays that:

       A.      The Court render a final judgment in favor of BGP and against Defendants on all

claims for relief alleged herein;

       B.      The Court render a final judgment that each Defendant has violated the provisions

of 17 U.S.C. §§ 101 et seq. by its acts of direct, contributory and/or vicarious infringement of




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BGP’s copyrights that are the subject of United States Copyright Registration Nos. VA 1-976-214,

VA 1-987-108, VA 2-031-115 and VA 2-031-117;

        C.        The Court render a final judgment that Defendants’ acts of direct, contributory and

vicarious infringement were done willfully;

        D.        The Court render a final judgment awarding BGP: (1) actual damages and profits

against each Defendant, plus attorneys’ fees and costs, pursuant to 17 U.S.C. §§ 504(b) and 505;

or alternatively (2) statutory damages against each Defendant for its wrongful conduct, plus

attorneys’ fees and costs, pursuant to 17 U.S.C. §§ 504(c)(1) and 505; or alternatively (3) in light

of Defendants’ willful conduct, maximum statutory damages against each Defendant, plus

attorneys’ fees and costs, pursuant to 17 U.S.C. §§ 504(c)(2) and 505;

        E.        The Court render a final judgment that each Defendant has directly caused, jointly

caused and/or induced numerous violations of the provisions of 17 U.S.C. § 1202(a) based upon

the provision of false copyright management information, such number of violations to be

determined according to proof;

        F.        The Court render a final judgment awarding BGP: (1) actual damages against each

Defendant, plus attorneys’ fees and costs, pursuant to 17 U.S.C. § 1203(b); or alternatively, (2)

statutory damages against each Defendant for its acts that jointly caused and/or induced numerous

violations of 17 U.S.C. § 1202(a) in a sum of not less than $2,500 or more than $25,000 per

violation pursuant to 17 U.S.C. § 1203(c)(3)(B), plus attorneys’ fees and costs, pursuant to 17

U.S.C. § 1203(b);

        G.        The Court render a final judgment ordering each Defendant to pay over to BGP all

damages that BGP has sustained as a consequence of the acts complained of herein, subject to

proof at trial;




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       H.      The Court grant BGP injunctive relief, pursuant to 17 U.S.C. §§ 502, 503 and

1203(b) and the Court’s inherent authority, preliminarily and permanently enjoining each

Defendant and its respective agents, servants, officers, directors, owners, representatives,

employees, successors, assigns and all other persons in active concert or participation with any of

them from committing further acts of infringement and inducement of falsification of copyright

management information as complained of herein;

       I.      BGP be granted pre-judgment and post-judgment interest on the damages caused

to it by reason of Defendants’ wrongful acts complained of herein;

       J.      BGP be granted its reasonable attorneys’ fees pursuant to 17 U.S.C. §§ 505 and

1203, and all other applicable law;

       K.      Costs be awarded to BGP; and,

       L.      BGP be granted such other and further relief as the Court may deem just and proper

under the circumstances.

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                                 DEMAND FOR JURY TRIAL

       BGP hereby demands trial by jury on all issues so triable in accordance with Rule 38 of

the Federal Rules of Civil Procedure and the Seventh Amendment to the United States

Constitution.

                                   Respectfully submitted,


Dated: April 5, 2019               By: /s/        C. Dale Quisenberry
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                                             ATTORNEYS FOR PLAINTIFF
                                             BRITTNEY GOBBLE PHOTOGRAPHY, LLC




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served this 5th day of April, 2019, with a copy of this
document via the Court’s CM/ECF system.


                                                    /s/   C. Dale Quisenberry




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